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 Proposed Co-Counsel for Debtors and
 Debtors in Possession

                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 BED BATH & BEYOND INC., et al.,                               Case No. 23-13359 (VFP)

                                     Debtors. 1                (Jointly Administered)




    DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
  EMPLOYMENT AND RETENTION OF COLE SCHOTZ P.C. AS BANKRUPTCY CO-
     COUNSEL TO THE DEBTORS NUNC PRO TUNC TO THE PETITION DATE




            1
              The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete
 list of the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
 website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
 Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11
 cases is 650 Liberty Avenue, Union, New Jersey 07083.



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 TO THE HONORABLE VINCENT F. PAPALIA, UNITED STATES BANKRUPTCY COURT:

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

 respectfully state the following in support of this application (this “Application”):

               I.        JURISDICTION, VENUE AND STATUTORY PREDICATES

          1.        This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

 1334 the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United States

 District Court for the District of New Jersey, dated September 18, 2012 (Simandle, C.J.). This is

 a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The Debtors confirm their consent to the

 Court entering a final order in connection with this Application to the extent that it is later

 determined that the Court absent consent of the parties, cannot enter final orders or judgments in

 connection herewith consistent with Article III of the United States Constitution.

          2.        Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.        The bases for the relief requested herein are sections 327(a), 329, and 330 of title

 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Rule 2014(a) of

 the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2014-1 of the

 Local Bankruptcy Rules for the United States Bankruptcy Court for the District of New Jersey (the

 “Local Rules”).

                                         II.    BACKGROUND

          4.        The Debtors are the largest home goods retailer in the United States, offering

 everything from bed linens to cookware to home organization, baby care, and more. In addition

 to their e-commerce website, the Debtors offer merchandise through their Bed Bath & Beyond

 stores and their buybuy BABY stores with locations across North America. Headquartered in




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 Union, New Jersey, Bed Bath & Beyond Inc. is a publicly traded company that currently employs

 approximately 14,000 non-seasonal employees.

          5.       The Debtors commenced these chapter 11 cases (these “Chapter 11 Cases”) to

 implement a timely and efficient process to maximize the value of the Debtors’ estates for the

 benefit of all stakeholders. Through these cases, the Debtors will immediately commence an

 orderly and value-maximizing wind down of their business, while marketing a sale of all or part

 of their business on a timeline consented to by their prepetition and DIP lenders.

          6.       On April 23, 2023 (the “Petition Date”), each Debtor filed a voluntary petition for

 relief under chapter 11 of the Bankruptcy Code. A detailed description of the Debtors, their

 businesses, and the facts and circumstances supporting the Debtors’ Chapter 11 Cases and this

 Application are set forth in greater detail in the Declaration of Holly Etlin, Chief Restructuring

 Officer and Chief Financial Officer of Bed Bath & Beyond Inc., in Support of the Debtors’ Chapter

 11 Petitions and First Day Motions [Docket No. 10] (the “First Day Declaration”), incorporated

 by reference herein. The Debtors are operating their businesses and managing their properties as

 debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On April 24,

 2023, the Court entered an order [Docket No. 75] authorizing procedural consolidation and joint

 administration of these Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b). No request for

 the appointment of a trustee or examiner has been made in these Chapter 11 Cases, and no official

 committees have been appointed or designated.

                                    III.    RELIEF REQUESTED

          7.       By this Application, the Debtors seek authorization to employ and retain Cole

 Schotz P.C. (“Cole Schotz”) as their co-counsel in connection with the filing and prosecution of

 these Chapter 11 Cases, nunc pro tunc to the Petition Date, pursuant to sections 327(a), 329, and



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 330 of the Bankruptcy Code, Bankruptcy Rule 2014(a), and Local Rule 2014-1. The Debtors

 further request that the Court approve the retention of Cole Schotz under a general retainer and

 hourly fee arrangement in accordance with Cole Schotz’s normal hourly rates in effect at the time

 services are rendered and Cole Schotz’s normal expense reimbursement policies. In support of

 this Application, the Debtors submit the Declaration of Michael D. Sirota, Esq. (the “Sirota

 Declaration”), attached hereto as Exhibit A, and the Declaration of Holly Etlin (the “Etlin

 Declaration”), attached hereto as Exhibit B.

                           IV.    COLE SCHOTZ’S QUALIFICATIONS

          8.       Cole Schotz was retained in January of 2023 to work with the Debtors, Kirkland &

 Ellis LLP and Kirkland & Ellis International LLP (“K&E”), and the Debtors’ other advisors to

 explore the Debtors’ strategic alternatives. Since being engaged, Cole Schotz has worked closely

 with the Debtors, their management, K&E and the Debtors’ other advisors in connection with the

 Debtors’ restructuring initiatives Code. As a result of this work, Cole Schotz has acquired

 significant knowledge about the Debtors, their businesses, and many of the potential legal issues

 that may arise in the context of these Chapter 11 Cases that makes it uniquely suited to serve as

 Debtors’ bankruptcy co-counsel.

          9.       The Debtors have selected Cole Schotz because the members and associates of Cole

 Schotz possess extensive knowledge and considerable expertise in the fields of bankruptcy,

 insolvency, reorganizations, debtors’ and creditors’ rights, debt restructuring, and corporate

 reorganizations, among others. In addition, the attorneys at Cole Schotz also have substantial

 experience appearing before the courts in this district and are familiar with local practice and

 procedure.       The Debtors believe Cole Schotz has assembled a team of highly-qualified

 professionals and paraprofessionals to provide services to them in these Chapter 11 Cases, have



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 determined that the retention of bankruptcy co-counsel is necessary to the successful

 administration of these cases, and submit that Cole Schotz’s employment would be in the best

 interests of their estates. Cole Schotz’s complex chapter 11 experience, as well as its extensive

 practice before this Court and knowledge of the local rules and practices, make it substantively

 and geographically ideal to efficiently serve the needs of the Debtors. Cole Schotz regularly

 represents Chapter 11 debtors, including retailers, throughout New Jersey and nationally and, thus,

 is well qualified to serve as bankruptcy co-counsel to the Debtors in these Chapter 11 proceedings.

          10.      Cole Schotz has been actively involved in many major Chapter 11 cases in this

 District. See, e.g., In re BlockFi Inc., Case No. 22-19361 (MBK); In re Nat’l Realty Investment

 Advisors, LLC, Case No. 22-14539 (JKS); In re Christopher & Banks Corp., Case No. 21-10269

 (ABA); In re RTW Retailwinds, Inc., Case No. 20-18445 (JKS); In re Congoleum Corporation,

 Case No. 20-18488 (MBK); In re SLT Holdco, Inc., Case No. 20-18368 (MBK); In re Modell’s

 Sporting Goods, Inc., Case No. 20-14179 (VFP); In re Cinram Group, Inc., Case No. 17-15258

 (VFP); In re Saint Michael’s Medical Center, Inc., Case No. 15-24999 (VFP); In re Crumbs Bake

 Shop, Inc., Case No. 14-24287 (MBK); In re Revel AC, Inc., Case No. 14-22654 (GMB); In re

 MEE Apparel LLC, Case No. 14-16484 (CMG); In re Dots, LLC, Case No. 14-11016 (MBK); 710

 Long Ridge Road Operating Company II, LLC, Case No. 13-13653 (DHS); In re Big M, Inc., Case

 No. 13-10233 (MBK); In re Tarragon Corporation, Case No. 09-10555 (DHS); In re Marcal

 Paper Mills, Inc., Case No. 06-21886 (MS); In re Best Manufacturing Group LLC, Case No. 06-

 17415 (DHS).

          11.      In sum the Debtors believe that Cole Schotz is both well-qualified and uniquely

 able to represent them in an efficient and timely manner and that the services of Cole Schotz are

 necessary and essential to the Debtors’ performance of their duties as debtors in possession.



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                               V.     SERVICES TO BE PROVIDED

          12.      The Debtors seek to retain Cole Schotz as their bankruptcy co-counsel to advise

 and represent the Debtors in certain aspects of their Chapter 11 Cases and to advise the Debtors

 with respect to local rules, procedures, and customs in connection with the performance of the

 following legal services:

                   (a)    overseeing investigations as directed by the Debtors’ independent directors;

                   (b)    advising the Debtors regarding the disposition of leasehold interests,
                          including advising with respect to lease negotiations, terminations, and
                          assumptions and rejections;

                   (c)    providing the Debtors with advice, based on their extensive experience
                          practicing in the District of New Jersey, regarding the Debtors’ rights,
                          powers, and duties as debtors in possession in continuing to operate and
                          manage their assets and business;

                   (d)    providing legal advice and services regarding local rules, practices and
                          procedures including Third Circuit law;

                   (e)    providing certain services in connection with the administration of the
                          Chapter 11 Cases including, without limitation, preparing agendas, hearing
                          notices, and hearing binders of documents and pleadings;

                   (f)    reviewing and commenting on proposed drafts of pleadings to be filed with
                          the Court;

                   (g)    appearing in Court and at any meeting with the United States Trustee and
                          any meeting of creditors;

                   (h)    providing legal advice and services on any matter on which K&E may have
                          a conflict or as needed based on specialization;

                   (i)    performing all other legal services for and on behalf of the Debtors which
                          may be necessary or appropriate in the administration of their Chapter 11
                          Cases and fulfillment of their duties as debtors in possession; and

                   (j)    responding to creditor and party-in-interest inquiries directed to Cole
                          Schotz.

          13.      By separate application, the Debtors have also asked the Court to approve the

 retention of K&E as bankruptcy co-counsel to the Debtors. In order to avoid any duplication of


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 effort and provide services to the Debtors in the most efficient and cost-effective manner, Cole

 Schotz will continue to coordinate with K&E and any other firms the Debtors retain regarding

 their respective responsibilities in these Chapter 11 Cases.

          14.      K&E is primarily responsible for the following:

                   (a)    advising the Debtors with respect to their powers and duties as debtors in
                          possession in the continued management and operation of their businesses
                          and properties, and coordinating with Cole Schotz with respect to local
                          nuances regarding same;

                   (b)    advising and consulting on the conduct of these chapter 11 cases, including
                          all of the legal and administrative requirements of operating in chapter 11;

                   (c)    attending meetings and negotiating with representatives of creditors and
                          other parties in interest;

                   (d)    taking all necessary actions to protect and preserve the Debtors’ estates,
                          including prosecuting actions on the Debtors’ behalf, defending any action
                          commenced against the Debtors, and representing the Debtors in
                          negotiations concerning litigation in which the Debtors are involved,
                          including objections to claims filed against the Debtors’ estates;

                   (e)    preparing pleadings in connection with these chapter 11 cases, including
                          motions, applications, answers, orders, reports, and papers necessary or
                          otherwise beneficial to the administration of the Debtors’ estates;

                   (f)    representing the Debtors in connection with obtaining authority to continue
                          using cash collateral and postpetition financing;

                   (g)    advising the Debtors in connection with any potential sale of assets;

                   (h)    appearing before the Court and any appellate courts to represent the interests
                          of the Debtors’ estates;

                   (i)    advising the Debtors regarding tax matters;

                   (j)    taking any necessary action on behalf of the Debtors to negotiate, prepare,
                          and obtain approval of a disclosure statement and confirmation of a chapter
                          11 plan and all documents related thereto;

                   (k)    performing all other necessary legal services for the Debtors in connection
                          with the prosecution of these chapter 11 cases, including: (i) analyzing the
                          Debtors’ leases and contracts and the assumption and assignment or
                          rejection thereof; (ii) analyzing the validity of liens against the Debtors’
                          assets; and (iii) advising the Debtors on corporate and litigation matters; and

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                   (l)        responding to creditor and party-in-interest inquiries directed to K&E.

                                VI.    PROFESSIONAL COMPENSATION

          15.      The Debtors understand that Cole Schotz intends to apply to the Court for allowance

 of compensation and reimbursement of out-of-pocket expenses incurred in connection with the

 preparation of the Debtors’ chapter 11 petitions and after the Petition Date in connection with the

 Chapter 11 Cases on an hourly basis, subject to Court approval and in accordance with the

 applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Appendix

 B Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

 Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective as of November 1, 2013

 (the “U.S. Trustee Guidelines”), and any orders entered in these cases governing the compensation

 and reimbursement of professionals for services rendered and charges and disbursements incurred.

          16.      The Debtors understand that, subject to the Court’s approval, Cole Schotz will be

 compensated at its standard hourly rates, which are based on the professionals’ level of experience.

 The attorneys and paralegals primarily responsible for representing the Debtors and their current

 standard hourly rates are:

                             Name                           Title           Hourly Rate
                         Michael D. Sirota                 Member            $1,200.00
                         Warren A. Usatine                 Member              $950.00
                          Seth Van Aalten                  Member              $950.00
                           David M. Bass                   Member              $935.00
                          Felice R. Yudkin                 Member              $705.00
                           Ryan T. Jareck                  Member              $695.00
                          Sarah A. Carnes                  Member              $750.00
                   Andreas D. Milliaressis              Associate              $475.00
                         Bryant P. Churbuck              Associate             $460.00
                           Frances Pisano                  Paralegal           $355.00


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          17.      Other attorneys, paralegals, and case management clerks will be involved in

 representing the Debtors. The current range of hourly rates for such professionals are:

                             Position                           Rates
                             Members                 $480 to $1,200 per hour
                          Special Counsel                $575 to $730 per hour
                             Associates                  $325 to $570 per hour
                             Paralegals                  $245 to $410 per hour

          18.      The hourly rates set forth above are subject to periodic adjustments to reflect

 economic and other conditions. There are no alternative fee arrangements from customary billing.

 Further, no professional has varied his or her rate based on geographic location.

          19.      The Debtors understand and agree that Cole Schotz will charge for its legal services

 on an hourly basis in accordance with its ordinary and customary hourly rates in effect on the date

 such services are rendered and for out-of-pocket expenses, all as set forth in the Sirota Declaration.

          20.      Prior to applying any increases in its hourly rates beyond the rates set forth in this

 Application, Cole Schotz shall provide ten (10) days’ prior notice of any such increases to the

 Debtors, the United States Trustee, and any official committee appointed in these Chapter 11 Cases.

          21.      The Debtors understand and agree that Cole Schotz will maintain detailed,

 contemporaneous records of time and any necessary costs and expenses incurred in connection

 with rendering the legal services described above and that they will be charged for all

 disbursements and expenses incurred in the rendition of services. These disbursements and

 expenses include, among other things, costs for telephone and facsimile charges, photocopying,

 travel, business meals, computerized research, messengers, couriers, postage, witness fees, and

 other fees related to trials and hearings (including transcripts).




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          22.      It is the Debtors’ understanding that Cole Schotz will submit detailed statements to

 the Court setting forth the services rendered and seeking compensation and reimbursement of

 expenses (including, when appropriate, authority to apply the Retainer (defined below)).

                  VII.     COMPENSATION RECEIVED FROM THE DEBTORS

          23.      As set forth in the Sirota Declaration, during the ninety days prior to the Petition

 Date, the Debtors paid Cole Schotz $558,150.59 representing Cole Schotz’s fees for services

 rendered and expenses incurred including the filing fees for the Chapter 11 petitions. As of the

 Petition Date, Cole Schotz was holding, on behalf of the Debtors, a retainer in the amount of

 $1,051,491.21 (the “Retainer”) in connection with these Chapter 11 Cases. 2

                         VIII. DISINTERESTEDNESS OF PROFESSIONALS

          24.      The Sirota Declaration describes the relationships, if any, that Cole Schotz has with

 creditors of the Debtors and other interested parties. As set forth in the Sirota Declaration, Cole

 Schotz does not believe that any of those relationships would foreclose the Debtors’ retention of

 Cole Schotz under section 327(a) of the Bankruptcy Code in that Cole Schotz: (i) does not

 represent any other entity having an adverse interest to the Debtors, their estates, or any other

 party-in-interest in connection with these Chapter 11 Cases; (ii) is a disinterested person under

 section 101(14) of the Bankruptcy Code; and (iii) has no connection with the Office of the United

 States Trustee (the “U.S. Trustee”) or any other person employed therein. The Debtors have been

 informed that Cole Schotz will continue conducting a review of its files to ensure that no




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            After the Petition Date, Cole Schotz reconciled its books and records and discovered that, the day before
 the Petition Date, it inadvertently invoiced the Debtors for amounts in excess of the amount then due. After
 consultation with the Debtors, Cole Schotz has transferred such excess funds into its trust account and has captured
 that amount in the Retainer figure set forth above.


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 disqualifying circumstances arise. If any new relevant facts or relationships are discovered, Cole

 Schotz will supplement its disclosure to the Court.

                IX.      STATEMENT REGARDING U.S. TRUSTEE GUIDELINES

          25.      Cole Schotz recognizes that the U.S. Trustee is charged with reviewing applications

 for retention and compensation and that the U.S. Trustee will utilize the U.S. Trustee Guidelines

 to evaluate any such applications.

          26.      Cole Schotz intends to comply with the U.S. Trustee’s requests for additional

 information and disclosures as set forth in the U.S. Trustee Guidelines, both in connection with

 this Application and the interim and final fee applications to be filed by Cole Schotz in these

 Chapter 11 Cases.

          27.      Moreover, as described in the Sirota Declaration, and consistent with the U.S.

 Trustee Guidelines, the Debtors have undertaken certain steps to ensure that the rate structure

 provided by Cole Schotz is not significantly different from the rates that (a) Cole Schotz charges

 for other non-bankruptcy engagements or (b) other comparable counsel would charge to do work

 substantially similar to the work Cole Schotz will perform in these Chapter 11 Cases.

                             X.      BASIS FOR RELIEF REQUESTED

          28.      Section 327(a) of the Bankruptcy Code authorizes a debtor in possession, with the

 court’s approval, to “employ one or more attorneys, accountants, appraisers, auctioneers, or other

 professional persons, that do not hold or represent an interest adverse to the estate, and that are

 disinterested persons, to represent or assist the [debtor in possession] in carrying out the [debtor in

 possession’s] duties under this title.” 11 U.S.C. § 327(a). Moreover, section 1107(b) provides

 that “a person is not disqualified for employment under section 327 of this title by a debtor in




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 possession solely because of such person’s employment by or representation of the debtor before

 the commencement of the case.” Id. § 1107(b).

          29.      Bankruptcy Rule 2014(a) requires that an application for retention include:

                    Specific facts showing the necessity for the employment, the name
                    of the [firm] to be employed, the reasons for the selection, the
                    professional services to be rendered, any proposed arrangement for
                    compensation, and, to the best of the applicant’s knowledge, all of
                    the [firm’s] connections with the debtor, creditors, any other party
                    in interest, their respective attorneys and accountants, the United
                    States trustee, or any person employed in the office of the United
                    States trustee.

 Fed. R. Bankr. P. 2014(a).

          30.      The Debtors request approval of the employment of Cole Schotz nunc pro tunc to

 the Petition Date. Such relief is warranted by the circumstances presented by these Chapter 11

 Cases. The Third Circuit has identified “time pressure to begin service” and absence of prejudice

 as factors favoring nunc pro tunc retention. See, e.g., Matter of Arkansas Co., Inc., 798 F.2d 645,

 650 (3d Cir. 1986); Indian River Homes, Inc. v. Sussex Trust Co., 108 B.R. 46, 52 (D. Del. 1989),

 app. dismissed, 909 F.2d 1476 (3d Cir. 1990). The Debtors’ selection of Cole Schotz as their

 bankruptcy co-counsel necessitated that Cole Schotz immediately commence work on time-

 sensitive matters and promptly devote resources to the Debtors’ cases pending submission and

 approval of this Application. Cole Schotz’s services on the Debtors’ behalf have not prejudiced

 any creditor or party-in-interest in these cases, but rather, have served their best interests.

          31.      The Debtors submit that, for the reasons stated above and in the Sirota and Etlin

 Declarations, the retention of Cole Schotz as their bankruptcy co-counsel, as described herein, is

 warranted. Accordingly, the retention of Cole Schotz as bankruptcy co-counsel to the Debtors

 should be approved.




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                                     XI.     NO PRIOR REQUEST

          32.      No prior request for the relief sought in this Application has been made to this Court

 or any other court.

                                             XII.   NOTICE

          33.      The Debtors will provide notice of this Application to the following parties and/or

 their respective counsel, as applicable: (a) the office of the United States Trustee for the District

 of New Jersey; (b) counsel for the official committee of unsecured creditors; (c) the agents under

 the Debtors’ prepetition secured facilities and counsel thereto; (d) the DIP Agent counsel thereto;

 (e) Davis Polk & Wardwell, LLP, and Greenberg Traurig, LLP, in their capacity as counsel to the

 Prepetition ABL Agent; (f) the indenture trustee to the Debtors’ Senior Unsecured Notes; (g) the

 United States Attorney’s Office for the District of New Jersey; (h) the Internal Revenue Service;

 (i) the U.S. Securities and Exchange Commission; (j) the attorneys general in the states where the

 Debtors conduct their business operations; (k) the monitor in the CCAA proceeding and counsel

 thereto; (l) the Debtors’ Canadian Counsel; and (m) any party that has requested notice pursuant

 to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested,

 no other or further notice need be given.




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                                          CONCLUSION

          WHEREFORE, the Debtors respectfully request entry of the proposed order submitted

 herewith granting the relief requested herein and such other and further relief as this Court may

 deem just and proper.


  Dated: May 20, 2023                              Respectfully submitted,

                                                   BED BATH AND BEYOND INC.

                                                   By: /s/ Holly Etlin
                                                           Holly Etlin
                                                           Chief Restructuring Officer and
                                                           Chief Financial Officer
                                                           Bed Bath and Beyond Inc.




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                                       EXHIBIT A

                                    Sirota Declaration




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 Proposed Co-Counsel for Debtors and
 Debtors in Possession

                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 BED BATH & BEYOND INC., et al.,                               Case No. 23-13359 (VFP)

                                     Debtors. 1                (Jointly Administered)



     DECLARATION OF MICHAEL D. SIROTA, ESQ. IN SUPPORT OF DEBTORS’
          APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
     EMPLOYMENT AND RETENTION OF COLE SCHOTZ P.C. AS BANKRUPTCY
     CO-COUNSEL TO THE DEBTORS NUNC PRO TUNC TO THE PETITION DATE




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              The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete
 list of the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
 website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
 Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11
 cases is 650 Liberty Avenue, Union, New Jersey 07083.



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          I, MICHAEL D. SIROTA, ESQ. pursuant to 28 U.S.C. § 1746, to the best of my knowledge

 and belief, and after reasonable inquiry, declare:

          1.         I am an attorney at law and shareholder of the law firm of Cole Schotz P.C. (“Cole

 Schotz”). Cole Schotz is a law firm of over 170 attorneys, having its principal offices at Court

 Plaza North, 25 Main Street, Hackensack, New Jersey 07601, with other offices in New York,

 Delaware, Maryland, Texas, and Florida. This Declaration (the “Declaration”) is submitted

 pursuant to sections 327, 329, and 504 of title 11 of the United States Code (the “Bankruptcy

 Code”), Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

 and Rule 2014-1 of the Local Bankruptcy Rules for the District of New Jersey (the “Local Rules”).

          2.         This Declaration is made in support of the Debtors’ Application for Entry of an

 Order Authorizing the Employment and Retention of Cole Schotz P.C. as Bankruptcy Co-Counsel

 to the Debtors Nunc Pro Tunc to the Petition Date (the “Application”),2 filed concurrently

 herewith. This Declaration also is submitted as the statement required pursuant to Section D.1 of

 the Appendix B Guidelines for Reviewing Applications for Compensation and Reimbursement of

 Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective as of

 November 1, 2013 (the “U.S. Trustee Guidelines”), promulgated by the Office of the United States

 Trustee (the “U.S. Trustee”).

          3.         I am familiar with the matters set forth herein and make this Declaration in support

 of the Application.

                               I.       COLE SCHOTZ’S QUALIFICATIONS

          4.         Cole Schotz was retained in January of 2023 to work with the Debtors, Kirkland &

 Ellis LLP and Kirkland & Ellis International LLP (“K&E”), and the Debtors’ other advisors to



          2
              Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.

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 explore the Debtors’ strategic alternatives. Since being engaged, Cole Schotz has worked closely

 with the Debtors, their management, K&E and the Debtors’ other advisors in connection with the

 Debtors’ restructuring initiatives. As a result of this work, Cole Schotz has acquired significant

 knowledge about the Debtors, their businesses, and many of the potential legal issues that may

 arise in the context of these Chapter 11 Cases that makes it uniquely suited to serve as Debtors’

 bankruptcy co-counsel.

          5.       The Debtors have selected Cole Schotz because the members and associates of Cole

 Schotz possess extensive knowledge and considerable expertise in the fields of bankruptcy,

 insolvency, reorganizations, debtors’ and creditors’ rights, debt restructuring, and corporate

 reorganizations, among others. In addition, the attorneys at Cole Schotz also have substantial

 experience appearing before the courts in this district and are familiar with local practice and

 procedure.       The Debtors believe Cole Schotz has assembled a team of highly-qualified

 professionals and paraprofessionals to provide services to them in these Chapter 11 Cases, have

 determined that the retention of bankruptcy co-counsel is necessary to the successful

 administration of these cases, and submit that Cole Schotz’s employment would be in the best

 interests of their estates. Cole Schotz’s complex chapter 11 experience, as well as its extensive

 practice before this Court and knowledge of the local rules and practices, make it substantively

 and geographically ideal to efficiently serve the needs of the Debtors. Cole Schotz regularly

 represents Chapter 11 debtors, including retailers, throughout New Jersey and nationally and, thus,

 is well qualified to serve as bankruptcy co-counsel to the Debtors in these Chapter 11 proceedings.

          6.       Cole Schotz has been actively involved in many major Chapter 11 cases in this

 District. See, e.g., In re BlockFi Inc., Case No. 22-19361 (MBK); In re Nat’l Realty Investment

 Advisors, LLC, Case No. 22-14539 (JKS); In re Christopher & Banks Corp., Case No. 21-10269



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 (ABA); In re RTW Retailwinds, Inc., Case No. 20-18445 (JKS); In re Congoleum Corporation,

 Case No. 20-18488 (MBK); In re SLT Holdco, Inc., Case No. 20-18368 (MBK); In re Modell’s

 Sporting Goods, Inc., Case No. 20-14179 (VFP); In re Cinram Group, Inc., Case No. 17-15258

 (VFP); In re Saint Michael’s Medical Center, Inc., Case No. 15-24999 (VFP); In re Crumbs Bake

 Shop, Inc., Case No. 14-24287 (MBK); In re Revel AC, Inc., Case No. 14-22654 (GMB); In re

 MEE Apparel LLC, Case No. 14-16484 (CMG); In re Dots, LLC, Case No. 14-11016 (MBK); 710

 Long Ridge Road Operating Company II, LLC, Case No. 13-13653 (DHS); In re Big M, Inc., Case

 No. 13-10233 (MBK); In re Tarragon Corporation, Case No. 09-10555 (DHS); In re Marcal

 Paper Mills, Inc., Case No. 06-21886 (MS); In re Best Manufacturing Group LLC, Case No. 06-

 17415 (DHS).

          7.       In sum, the Debtors believe that Cole Schotz is both well-qualified and uniquely

 able to represent them in an efficient and timely manner and that the services of Cole Schotz are

 necessary and essential to the Debtors’ performance of their duties as debtors in possession.

                               II.    SERVICES TO BE PROVIDED

          8.       The Debtors seek to retain Cole Schotz as their bankruptcy co-counsel to advise

 and represent the Debtors in certain aspects of their Chapter 11 Cases and to advise the Debtors

 with respect to local rules, procedures, and customs in connection with the performance of the

 following legal services:

                   (a)    overseeing investigations as directed by the Debtors’ independent directors;

                   (b)    advising the Debtors regarding the disposition of leasehold interests,
                          including advising with respect to lease negotiations, terminations, and
                          assumptions and rejections;

                   (c)    providing the Debtors with advice, based on their extensive experience
                          practicing in the District of New Jersey, regarding the Debtors’ rights,
                          powers, and duties as debtors in possession in continuing to operate and
                          manage their assets and business;


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                   (d)    providing legal advice and services regarding local rules, practices and
                          procedures including Third Circuit law;

                   (e)    providing certain services in connection with the administration of the
                          Chapter 11 Cases including, without limitation, preparing agendas, hearing
                          notices, and hearing binders of documents and pleadings;

                   (f)    reviewing and commenting on proposed drafts of pleadings to be filed with
                          the Court;

                   (g)    appearing in Court and at any meeting with the United States Trustee and
                          any meeting of creditors;

                   (h)    providing legal advice and services on any matter on which K&E may have
                          a conflict or as needed based on specialization;

                   (i)    performing all other legal services for and on behalf of the Debtors which
                          may be necessary or appropriate in the administration of their Chapter 11
                          Cases and fulfillment of their duties as debtors in possession; and

                   (j)    responding to creditor and party-in-interest inquiries directed to Cole
                          Schotz.

          9.       By separate application, the Debtors have also asked the Court to approve the

 retention of K&E as bankruptcy co-counsel to the Debtors. In order to avoid any duplication of

 effort and provide services to the Debtors in the most efficient and cost-effective manner, Cole

 Schotz will continue to coordinate with K&E and any other firms the Debtors retain regarding

 their respective responsibilities in these Chapter 11 Cases.

          10.      K&E is primarily responsible for the following:

                   (a)    advising the Debtors with respect to their powers and duties as debtors in
                          possession in the continued management and operation of their businesses
                          and properties, and coordinating with Cole Schotz with respect to local
                          nuances regarding same;

                   (b)    advising and consulting on the conduct of these chapter 11 cases, including
                          all of the legal and administrative requirements of operating in chapter 11;

                   (c)    attending meetings and negotiating with representatives of creditors and
                          other parties in interest;

                   (d)    taking all necessary actions to protect and preserve the Debtors’ estates,
                          including prosecuting actions on the Debtors’ behalf, defending any action

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                          commenced against the Debtors, and representing the Debtors in
                          negotiations concerning litigation in which the Debtors are involved,
                          including objections to claims filed against the Debtors’ estates;

                   (e)    preparing pleadings in connection with these chapter 11 cases, including
                          motions, applications, answers, orders, reports, and papers necessary or
                          otherwise beneficial to the administration of the Debtors’ estates;

                   (f)    representing the Debtors in connection with obtaining authority to continue
                          using cash collateral and postpetition financing;

                   (g)    advising the Debtors in connection with any potential sale of assets;

                   (h)    appearing before the Court and any appellate courts to represent the interests
                          of the Debtors’ estates;

                   (i)    advising the Debtors regarding tax matters;

                   (j)    taking any necessary action on behalf of the Debtors to negotiate, prepare,
                          and obtain approval of a disclosure statement and confirmation of a chapter
                          11 plan and all documents related thereto;

                   (k)    performing all other necessary legal services for the Debtors in connection
                          with the prosecution of these chapter 11 cases, including: (i) analyzing the
                          Debtors’ leases and contracts and the assumption and assignment or
                          rejection thereof; (ii) analyzing the validity of liens against the Debtors’
                          assets; and (iii) advising the Debtors on corporate and litigation matters; and

                   (l)    responding to creditor and party-in-interest inquiries directed to K&E.

                            III.    PROFESSIONAL COMPENSATION

          11.      Cole Schotz intends to apply to the Court for allowance of compensation and

 reimbursement of out-of-pocket expenses incurred after the Petition Date in connection with the

 Chapter 11 Cases on an hourly basis, subject to Court approval and in accordance with the

 applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the U.S.

 Trustee Guidelines, and any orders entered in these cases governing the compensation and

 reimbursement of professionals for services rendered and charges and disbursements incurred.

          12.      The attorneys and paralegals primarily responsible for representing the Debtors and

 their current standard hourly rates are:


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                             Name                         Title           Hourly Rate
                         Michael D. Sirota               Member            $1,200.00
                         Warren A. Usatine               Member              $950.00
                          Seth Van Aalten                Member              $950.00
                           David M. Bass                 Member              $935.00
                          Felice R. Yudkin               Member              $705.00
                           Ryan T. Jareck                Member              $695.00
                          Sarah A. Carnes                Member              $750.00
                   Andreas D. Milliaressis            Associate              $475.00
                         Bryant P. Churbuck           Associate              $460.00
                           Frances Pisano                Paralegal           $355.00

          13.      Other attorneys, paralegals, and case management clerks will be involved in

 representing the Debtors. The range of hourly rates for such professionals are:

                                Position                         Rates
                                Members              $480 to $1,200 per hour
                             Special Counsel             $575 to $730 per hour
                                Associates               $325 to $570 per hour
                                Paralegals               $245 to $410 per hour

          14.      The hourly rates set forth above are subject to periodic adjustments to reflect

 economic and other conditions. There are no alternative fee arrangements from customary billing.

 Further, no professional has varied his or her rate based on geographic location.

          15.      Cole Schotz will charge for its legal services on an hourly basis in accordance with

 its ordinary and customary hourly rates in effect on the date such services are rendered.

          16.      Prior to applying any increases in its hourly rates beyond the rates set forth in the

 Application, Cole Schotz shall provide ten (10) days’ prior notice of any such increases to the

 Debtors, the United States Trustee, and any official committee appointed in these Chapter 11 Cases.



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          17.      It is Cole Schotz’s policy to charge its clients in all areas of practice for out-of-

 pocket expenses incurred in connection with the client’s case. The expenses charged to clients

 include, among other things, telephone calls, mail and express mail, special or hand delivery,

 outgoing facsimiles, photocopying, scanning and/or printing, computer assisted research (which

 shall not be more than the actual cost incurred by Cole Schotz in performing such research), travel,

 “working meals,” transcription, as well as non-ordinary overhead expenses such as secretarial and

 other overtime. Cole Schotz will charge for these expenses in a manner and at rates consistent with

 charges made generally to its other clients, subject to Local Rule 2016-1.

          18.      Cole Schotz will submit detailed statements to the Court setting forth the services

 rendered and seeking compensation and reimbursement of expenses (including, when appropriate,

 authority to apply the Retainer (defined below)).

                  IV.         COMPENSATION RECEIVED FROM THE DEBTORS

          19.      As set forth in the Sirota Declaration, during the ninety days prior to the Petition

 Date, the Debtors paid Cole Schotz $558,150.59 representing Cole Schotz’s fees for services

 rendered and expenses incurred including the filing fees for the Chapter 11 petitions. As of the

 Petition Date, Cole Schotz was holding, on behalf of the Debtors, a retainer in the amount of

 $1,051,491.21 (the “Retainer”) in connection with these Chapter 11 Cases. 3

                         V.     DISINTERESTEDNESS OF PROFESSIONALS

          20.      Insofar as I have been able to ascertain through diligent inquiry, except as set forth

 in this Declaration, neither I, Cole Schotz, nor any professional employee of Cole Schotz have any




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            After the Petition Date, Cole Schotz reconciled its books and records and discovered that, the day before
 the Petition Date, it inadvertently invoiced the Debtors for amounts in excess of the amount then due. After
 consultation with the Debtors, Cole Schotz has transferred such excess funds into its trust account and has captured
 that amount in the Retainer figure set forth above.


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 connection with the Debtors, their creditors, any other party-in-interest, their current respective

 attorneys or professionals, the U.S. Trustee or any person employed in the Office of the U.S.

 Trustee, nor do we hold or represent any entity having an adverse interest in the Debtors’ Chapter

 11 Cases. Neither I, Cole Schotz, nor any professional employee of Cole Schotz is related

 professionally to the Debtors, their creditors, or any other party-in-interest herein or their

 respective attorneys or professionals. Notwithstanding the foregoing, Cole Schotz currently

 represents, and in the past has represented, certain affiliates, subsidiaries, and entities associated

 with various professionals that the Debtors seek to retain in connection with these Chapter 11

 Cases. Cole Schotz’s current and prior representations of these professionals has been in matters

 unrelated to the Debtors or these Chapter 11 Cases. Cole Schotz has not represented, and will not

 represent, any such professionals in connection with any matter in these Chapter 11 Cases during

 the pendency of these Chapter 11 Cases. I do not believe that Cole Schotz’s current or prior

 representation of these professionals precludes Cole Schotz from meeting the disinterestedness

 standard under the Bankruptcy Code

          21.      In preparing this Declaration, I used a set of procedures developed by Cole Schotz

 to ensure full compliance with the requirements of the Bankruptcy Code, the Bankruptcy Rules,

 and the Local Rules regarding the retention of professionals by a debtor in possession (the

 “Retention Procedures”). Pursuant to the Retention Procedures, and under my direction and

 supervision, Cole Schotz performed a conflict of interest search to identify any actual or potential

 conflicts of interest. The Retention Procedures included:

                   (a)    Through conversations with K&E and the Debtors’ advisors, Cole Schotz
                          attorneys, and other resources available to Cole Schotz, a list of the
                          following entities was developed: (i) the Debtors, (ii) Non-Debtor
                          Affiliates; (iii) Directors and Officers, (iv) Equity Shareholders,
                          (v) Bondholders, (vi) Debtor Professionals, (vii) Depository Banks,
                          (viii) Freight Providers, (ix) Guarantors, (x) Insurance Providers,


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                          (xi) Interested Parties, (xii) Landlords, (xiii) Lender Advisors, (xiv) Letter
                          of Credit Beneficiaries, (xv) Letter of Credit Providers, (xvi) Litigation
                          Counterparties, (xvii) Office of the United States Trustee & Judge,
                          (xviii) Ordinary Course Professionals, (xix) Secured Lenders, (xx) Trade
                          Creditors, (xxi) UCC Lienholders, (xxii) Unsecured Noteholders,
                          (xxiii) utility providers, and (xxiv) all other parties listed on the attached
                          Schedule 1 (collectively, the “Entity List”).

                   (b)    Cole Schotz maintains a database of current and former clients and related
                          information (the “Database”). Cole Schotz (i) searched the Database and
                          compiled a list of those entities for which Cole Schotz attorney fees were
                          billed during the past three years (the “Client List”); and (ii) circulated the
                          Entity List, via e-mail, to all of its employees in order to solicit potential
                          conflicts or connections that might not be uncovered through the Database.

                   (c)    Cole Schotz compared the names on the Entity List with the names on the
                          Client List and the responses from the employee e-mail solicitation to
                          identify potential matches, to determine whether these matches are with
                          current clients, and, if so, to identify the Cole Schotz personnel responsible
                          for such matters.

                   (d)    Based on the results of that search and by making general and, when
                          applicable, specific inquiries of Cole Schotz personnel, insofar as I have
                          been able to ascertain after diligent inquiry, neither I, nor Cole Schotz, nor
                          any member, counsel or associate thereof have any connection with, or have
                          an adverse interest to, the parties on the Entity List except as set forth on
                          Schedule 2 hereto (the “Disclosure List”) or disclosed in this Declaration.

          22.      Cole Schotz has represented, currently represents, and may in the future represent

 entities on the Disclosure List (or their affiliates) in matters unrelated to the Debtors’ Chapter 11

 Cases. The Disclosure List reflects that an entity is a “Current Client” if Cole Schotz has any open

 matters for such entity or a known affiliate of such entity and attorney time charges have been

 recorded on any such matters within the past three years. The Disclosure List reflects that an entity

 is a “Former Client” if Cole Schotz represented such entity or a known affiliate of such entity

 within the past three years based on recorded attorney time charges on a matter and such matter

 has been formally closed.

          23.      Except as set forth on the Disclosure List, Cole Schotz has not represented, does

 not represent, and will not represent any entities on the Disclosure List in matters directly related

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 to the Debtors or these Chapter 11 Cases. Moreover, Cole Schotz will not commence a cause of

 action in these Chapter 11 Cases against a “Current Client” unless it has an applicable waiver on

 file or first receives a waiver from such entity allowing it to commence such an action. To the

 extent that a waiver does not exist or is not obtained from such entity and it is necessary for the

 Debtors to commence an action against that entity, the Debtors will be represented in such

 particular matter by K&E or other counsel that may be retained. To the best of my knowledge,

 none of the entities on the Disclosure List represented more than 1% of Cole Schotz’s revenue for

 the 2022 calendar year.

          24.      As a part of Cole Schotz’s bankruptcy and corporate restructuring practice, Cole

 Schotz’s clientele includes debtors, creditors’ and other statutory committees, institutional

 creditors, asset purchasers, venture capitalists, secured parties, lessors and contract parties, equity

 holders, directors and officers, court-appointed fiduciaries, plan sponsors, indenture trustees, and

 bond insurers. The Debtors have numerous creditors and other parties-in-interest. Cole Schotz

 may have in the past represented, and may presently or in the future represent, creditors or parties-

 in-interest in addition to those specifically disclosed herein in matters unrelated to these Chapter

 11 Cases. Cole Schotz believes that its representation of such creditors or other parties in such

 other matters has not affected and will not affect its representation of the Debtors in these

 proceedings.

          25.      In addition to its bankruptcy and corporate restructuring practice, Cole Schotz is a

 full-service law firm with active real estate, corporate, finance, construction, litigation,

 environmental, employment, tax, trust and estates, and white-collar defense practices. Cole Schotz

 appears in cases, proceedings, and transactions involving many different attorneys, accountants,




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 financial consultants, and investment bankers, some of whom now or may in the future represent

 or be deemed adverse to claimants or parties-in-interest in these cases.

          26.      Despite the efforts described above to identify and disclose Cole Schotz’s

 connections with the Entity List, because the Debtors have numerous creditors and other

 relationships, Cole Schotz is unable to state with certainty that every client representation or other

 connection has been disclosed. If Cole Schotz discovers additional information that requires

 disclosure, Cole Schotz will file supplemental disclosure(s) with the Court as promptly as

 possible.

          27.      To the best of my knowledge, Cole Schotz has not been retained to assist any entity

 or person other than the Debtors on matters relating to, or in connection with, these cases. If this

 Court approves the proposed employment of Cole Schotz as co-counsel to the Debtors, Cole

 Schotz will not accept any engagement or perform any services in these cases for any entity or

 person other than the Debtors. Cole Schotz may, however, continue to provide professional

 services to, and engage in commercial or professional relationships with, entities or persons that

 may be creditors of the Debtors or parties-in-interest in these cases; provided, however, that such

 services do not and will not relate to, or have any direct connection with, these cases.

          28.      Thus, pursuant to section 327(a) of the Bankruptcy Code, Cole Schotz does not

 hold or represent any interests adverse to the Debtors, their creditors, or their estates.

          29.      Cole Schotz also is a disinterested person within the meaning of section 101(14) of

 the Bankruptcy Code in that Cole Schotz, its members, counsel, and associates:

                   (a)    are not creditors, equity security holders, or insiders of the Debtors;

                   (b)    are not and were not, within two years before the Petition Date, a director,
                          officer, or employee of the Debtors; and

                   (c)    do not hold an interest materially adverse to the interest of the estates or any
                          class of creditors or equity security holders by reason of any direct or

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                          indirect relationship to, connection with, or interest in, the Debtors, or for
                          any other reason.

           30.     Accordingly, based upon information available to me, I submit that Cole Schotz is

 a “disinterested person” within the meaning of section 101(14) of the Bankruptcy Code and the

 requirements of section 327(a) of the Bankruptcy Code are satisfied in respect of the matters upon

 which Cole Schotz is to be engaged in these Chapter 11 Cases.

                 VI.     STATEMENT REGARDING U.S. TRUSTEE GUIDELINES

           31.     Cole Schotz also will make a reasonable effort to comply with the U.S. Trustee’s

 requests for information and additional disclosures as set forth in the U.S. Trustee Guidelines, both

 in connection with the Application and the interim and final fee applications to be filed by Cole

 Schotz.

           32.     In that regard, the following is provided in response to the request for additional

 information set forth in Paragraph D.1. of the U.S. Trustee Guidelines:

                   Question:      Did you agree to any variations from, or alternatives to, your
                                  standard or customary billing arrangements for this engagement?

                   Response:      No.

                   Question:      Do any of the professionals included in this engagement vary their
                                  rate based on the geographic location of the bankruptcy case?

                   Response:      No.

                   Question:      If you represented the client in the 12 months prepetition, disclose
                                  your billing rates and material financial terms for the prepetition
                                  engagement, including any adjustments during the 12 months
                                  prepetition. If your billing rates and material financial terms have
                                  changed postpetition, explain the difference and the reasons for
                                  the difference.

                   Response:      Cole Schotz has historically provided general corporate and real
                                  estate services to the Debtors. Moreover, Cole Schotz rendered
                                  restructuring services for the Debtors pre-petition for four months
                                  prior to the Petition Date. During that time, Cole Schotz did not
                                  raise its billing rates. The material financial terms for the pre-


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                                 petition engagement remain the same as those disclosed in the
                                 Application, as that engagement was undertaken on an hourly-fee
                                 basis.

                   Question:      Has your client approved your prospective budget and staffing
                                  plan, and, if so for what budget period?

                   Response:     Cole Schotz is currently formulating a budget and staffing plan,
                                 which it will review with the Debtors. Cole Schotz will file its
                                 budgets and staffing plans in connection with any and all
                                 applications for interim and final compensation they file these
                                 Chapter 11 Cases

          33.      No promises have been received by Cole Schotz nor any member or associate

 thereof as to compensation in connection with these cases other than in accordance with the

 provisions of the Bankruptcy Code.

          34.      Pursuant to section 504 of the Bankruptcy Code, no agreement or understanding

 exists between Cole Schotz and any other person to share any compensation or reimbursement of

 expenses to be paid to Cole Schotz in these proceedings.

          35.      The proposed engagement of Cole Schotz is not prohibited by Bankruptcy Rule

 5002.

          36.      Cole Schotz will abide by the terms of any orders entered in these cases governing

 the compensation and reimbursement of professionals for services rendered and charges and

 disbursements incurred.

          37.      By reason of the foregoing, I believe Cole Schotz is eligible for employment and

 retention by the Debtors pursuant to section 327(a) of the Bankruptcy Code and the applicable

 Bankruptcy Rules and Local Rules.

          I hereby declare under the penalty of perjury that the foregoing is true and correct.

 Executed on May 20, 2023

                                                        /s/ Michael D. Sirota
                                                        MICHAEL D. SIROTA

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                                      SCHEDULE 1

                                        Entity List




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                                     SCHEDULE 1
                                     List of Schedules

 Schedule   Category
 1(a)       Debtor
 1(b)       Non-Debtor Affiliate
 1(c)       Director/Officer
 1(d)       Equity Shareholder
 1(e)       Bondholder
 1(f)       Debtor Professional
 1(g)       Depository Banks
 1(h)       Freight Provider
 1(i)       Guarantor
 1(j)       Insurance Provider
 1(k)       Interested Party
 1(l)       Landlord
 1(m)       Lender Advisor
 1(n)       Letter of Credit Beneficiary
 1(o)       Letter of Credit Provider
 1(p)       Litigation
 1(q)       Office of the United States Trustee & Judge
 1(r)       Ordinary Course Professional
 1(s)       Secured Lender
 1(t)       Trade
 1(u)       UCC Lien
 1(v)       Unsecured Noteholder
 1(w)       Utility Provider
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                                    SCHEDULE 1(a)
                                             Debtor
 Alamo Bed Bath & Beyond Inc.
 BBB Canada LP Inc.
 BBB Value Services Inc.
 BBBY Management Corp.
 BBBYCF LLC
 BBBYTF LLC
 Bed Bath & Beyond Inc.
 Bed Bath & Beyond of Annapolis Inc.
 Bed Bath & Beyond of Arundel Inc.
 Bed Bath & Beyond of Baton Rouge Inc.
 Bed Bath & Beyond of Birmingham Inc.
 Bed Bath & Beyond of Bridgewater Inc.
 Bed Bath & Beyond of California LLC
 Bed Bath & Beyond of Davenport Inc.
 Bed Bath & Beyond of East Hanover Inc.
 Bed Bath & Beyond of Edgewater Inc.
 Bed Bath & Beyond of Falls Church Inc.
 Bed Bath & Beyond of Fashion Center Inc.
 Bed Bath & Beyond of Frederick Inc.
 Bed Bath & Beyond of Gaithersburg Inc.
 Bed Bath & Beyond of Gallery Place LLC
 Bed Bath & Beyond of Knoxville Inc.
 Bed Bath & Beyond of Lexington Inc.
 Bed Bath & Beyond of Lincoln Park Inc.
 Bed Bath & Beyond of Louisville Inc.
 Bed Bath & Beyond of Mandeville Inc.
 Bed Bath & Beyond of Manhattan Inc.
 Bed Bath & Beyond of Norman Inc.
 Bed Bath & Beyond of Opry Inc.
 Bed Bath & Beyond of Overland Park Inc.
 Bed Bath & Beyond of Palm Desert Inc.
 Bed Bath & Beyond of Paradise Valley Inc.
 Bed Bath & Beyond of Pittsford Inc.
 Bed Bath & Beyond of Portland Inc.
 Bed Bath & Beyond of Rockford Inc.
 Bed Bath & Beyond of St. Louis Inc.
 Bed Bath & Beyond of Towson Inc.
 Bed Bath & Beyond of Virginia Beach Inc.
 Bed Bath & Beyond of Waldorf Inc.
 Bed Bath & Beyond of Woodbridge Inc.
 Bed ‘n Bath Stores Inc.
 Buy Buy Baby Inc.
 Buy Buy Baby of Rockville Inc.
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 Buy Buy Baby of Totowa Inc.
 BWAO LLC
 Chef C Holdings LLC
 Decorist LLC
 Deerbrook Bed Bath & Beyond Inc.
 Harmon of Brentwood Inc.
 Harmon of Caldwell Inc.
 Harmon of Carlstadt Inc.
 Harmon of Franklin Inc.
 Harmon of Greenbrook II Inc.
 Harmon of Hackensack Inc.
 Harmon of Hanover Inc.
 Harmon of Hartsdale Inc.
 Harmon of Manalapan Inc.
 Harmon of Massapequa Inc.
 Harmon of Melville Inc.
 Harmon of New Rochelle Inc.
 Harmon of Newton Inc.
 Harmon of Old Bridge Inc.
 Harmon of Plainview Inc.
 Harmon of Raritan Inc.
 Harmon of Rockaway Inc.
 Harmon of Shrewsbury Inc.
 Harmon of Totowa Inc.
 Harmon of Wayne Inc.
 Harmon of Westfield Inc.
 Harmon of Yonkers Inc.
 Harmon Stores Inc.
 Liberty Procurement Co. Inc.
 Of a Kind Inc.
 One Kings Lane LLC
 San Antonio Bed Bath & Beyond Inc.
 Springfield Buy Buy Baby Inc.
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                                   SCHEDULE 1(b)
                                  Non-Debtor Affiliate
 BBB Canada Ltd.
 BBB Mexico L.L.C.
 Bed Bath & Beyond Canada L.P.
 Bed Bath & Beyond Mexico S. de R. de C.V.
 Harmon of Roxbury, Inc.
 Importadora BBBMex S. de R.L. de C.V.
 Oak Insurance Company Inc.
 Servicios BBBMex S. de R.L. de C.V.
 Servicios, S. de R.L. de C.V.
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                                   SCHEDULE 1(c)
                                    Director/Officer

 Andrisano, Toni-Anne
 Bowen, Marjorie
 Crossen, Laura
 Danzig, Mark
 Dyer, Greg
 Edelman, Harriet
 Foster, Jonathan
 Fratanduono, Camille
 Gove, Sue
 Haddad, Wade
 Kastin, David
 Kim, Susie
 Kirwan, Jeffrey
 Lindblom, Scott
 Lombard, Shelly
 Markoe, Lynda
 Schecter, Joshua
 Shah, Minesh
 Sichel, Bart
 Sirhal, Mara
 Weiss, Andrea
 Wu, Patty
 Yerger, Ann
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                                SCHEDULE 1(d)
                                 Equity Shareholder

 BlackRock Inc.
 Vanguard Group Inc., The
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                                    SCHEDULE 1(e)
                                        Bondholder

 1832 Asset Management LP                      Finlabo SIM SpA
 AllianceBernstein LP                          Flow Traders U.S. LLC
 Alta Capital Management LLC                   Foxhill Capital Partners LLC
 Altrius Capital Management Inc.               Franklin Advisers Inc.
 Ameritas Life Insurance Corp. of New York     GIA Partners LLC
 APG Asset Management US Inc.                  Goldman Sachs Asset Management LP (US)
 AQS Asset Management LLC                      GSO Capital Partners LP
 Aristotle Capital Management LLC              Healthcare of Ontario Pension Plan
 Asset Allocation & Management Co. LLC         Highbridge Capital Management LLC
 Aviary Capital Enterprises Inc.               Hotchkis & Wiley Capital Management
 Banco de Sabadell SA                              LLC
 Bank of America Merrill Lynch Proprietary     HSBC Bank PLC
     Trading                                   International City Management Association
 Barclays Capital Inc.                             Retirement Corp.
 Bivium Capital Partners LLC                   Invesco Advisers Inc.
 BlackRock Advisors LLC                        Invesco Capital Management LLC
 Blackstone Liquid Credit Strategies LLC       JPMorgan Investment Management Inc.
 BlueCrest Capital Management (U.K.) LLP       JPMorgan Securities LLC
 BNP Paribas Asset Management France           KSKJ Life American Slovenian Catholic
 BNP Paribas Securities Corp.                      Union
 BondBloxx Investment Management Corp.         Lawson Kroeker Investment Management
 BVK- Beamtenversicherungskasse des                Inc.
     Kantons Zurich                            LM Capital Group LLC
 Cable Car Capital LLC                         Lombard Odier Asset Management Europe
 California Public Employees Retirement            Ltd.
     System                                    MacKay Shields LLC
 Canal Insurance Co.                           Manhattan Life Insurance
 CapitalatWork - Foyer Group (Belgium)         Manning & Napier Advisors LLC
 Carillon Tower Advisers Inc.                  Marathon Asset Management Ltd.
 CastleKnight Management LP                    Mellon Investments Corp.
 Catholic Family Fraternal of Texas            Millennium Advisors LLC
 Chartwell Investment Partners LLC             Miller Value Partners LLC
 Chicago Capital LLC                           Mirabaud Asset Management Ltd.
 CIGNA Investments Inc.                        Mont Blanc Capital Management AG
 Citigroup Global Markets Inc.                 Morgan Stanley & Co. LLC
 Croatian Fraternal Union of America           Murchinson LP
 CTC Alternative Strategies Ltd.               Muzinich & Co. Inc.
 DBX Advisors LLC                              Napier Park Global Capital (US) LP
 Deutsche Bank Securities Inc.                 New Jersey, State of, Division of Investment
 Diamond Insurance Group Ltd.                  New York, City of (NY), Comptroller’s
 FBL Investment Management Services Inc.           Office
 Fidelity Management & Research Co. LLC        Northern Trust Global Investments Ltd.
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 Northwestern Mutual Investment
     Management Co. LLC
 Nykredit Bank AS
 Oppenheimer Asset Management Inc.
 Pension Reserves Investment Management
     Board
 PFA Asset Management AS
 PGIM Inc.
 Pharus Management SA
 PNC Bank NA
 Russell Investment Management LLC
 Safeway Insurance Group
 Safra Securities LLC
 Seix Investment Advisors LLC
 Selected Funeral & Life Insurance Co.
 SG Americas Securities LLC
 Shlomo Holdings Ltd.
 SMH Capital Advisors LLC
 Squarepoint OPS LLC
 State Street Global Advisors
 SumRidge Partners LLC
 Tennessee Farmers Mutual Insurance Co.
 TOBAM
 UBS Securities LLC
 USA Life One Insurance Co. of Indiana
 Van Eck Associates Corp.
 Verition Fund Management LLC
 Virtus Investment Advisers Inc.
 Western Asset Management Co. LLC
 Zest SA
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                                      SCHEDULE 1(f)
                                      Debtor Professional

 A&G Realty Partners, LLC
 AlixPartners LLP
 Cole Schotz P.C.
 Kirkland & Ellis LLP
 Kirkland & Ellis International LLP
 Lazard Frères & Co. LLC
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                                 SCHEDULE 1(g)
                                  Depository Banks

 Banco Popular
 BB&T
 Fifth Third
 First Hawaiian
 JPMorgan
 Key Bank
 Scotia Bank
 SSB/Morgan Stanley
 UBS
 Union Bank
 US Bank
 Wells Fargo
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                              SCHEDULE 1(h)
                                Freight Provider

 Federal Express
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                                   SCHEDULE 1(i)
                                       Guarantor

 BBB Canada LP Inc.
 BBB Canada Ltd.
 BBB Value Services Inc.
 BBBY Management Corp.
 BBBYCF LLC
 BBBYTF LLC
 Bed Bath & Beyond Canada LP
 Bed Bath & Beyond Inc.
 Bed Bath & Beyond of California LLC
 Bed ‘n Bath Stores Inc.
 Buy Buy Baby Inc.
 BWAO LLC
 Chef C Holdings LLC
 Decorist LLC
 Harmon Stores Inc.
 Liberty Procurement Co. Inc.
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                                      SCHEDULE 1(j)
                                      Insurance Provider

 Ace Property & Casualty Insurance Co.
 Affiliated FM Insurance Co.
 AIG
 AIG Insurance Co. of Canada
 AIG Specialty Insurance Co.
 Allianz Global Risks US Insurance Co.
 Allied World Specialty Insurance Co.
 Arch Insurance Co.
 Arch Specialty Insurance Co.
 Argonaut Insurance Co.
 Axis Surplus Insurance Co.
 Berkley Assurance Co.
 Berkshire Hathaway Specialty Insurance Co.
 Certain Underwriters at Lloyd’s - Syndicate 1183 (Validus)
 Continental Insurance Co.
 Endurance American Insurance Co.
 Factory Mutual Insurance Co.
 Federal Insurance Co.
 FM Global de Mexico SA De CV
 General Security Indemnity Co. of Arizona
 Great American Insurance Co.
 Hudson Insurance Co.
 Insurance Co. of the State of Pennsylvania, The
 Insurance Corp. of British Columbia
 Liberty Surplus Insurance Corp.
 Lloyd’s Syndicate 2623 (Beazley Furlonge Ltd.)
 Mercer Insurance Co.
 National Casualty Co.
 National Union Fire Insurance Co. of Pittsburgh PA
 Navigators Insurance Co.
 Ohio Casualty Insurance Co., The
 Old Republic Union Insurance Co.
 Safety National Casualty Corp.
 Safety Specialty Insurance Co.
 Scottsdale Insurance Co.
 Starr Surplus Lines Insurance Co.
 State National Insurance Co. Inc.
 Underwriters At Lloyd’s London
 XL Insurance America Inc.
 Zurich American Insurance Co.
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                                      SCHEDULE 1(k)
                                       Interested Party

 Angelo Gordon
 Ares Management Corp.
 Authentic Brands Group Inc.
 Blue Torch Capital LP
 Centerbridge Partners LP
 Cerberus Capital Management LP
 Citigroup Inc.
 Cohen, Ryan
 CSC Generation Inc.
 Hudson Bay Capital
 Interweave Inc.
 JPMorgan Chase & Co.
 Michaels Stores Inc.
 MidCap Financial LLC
 Putman Investments
 SB360 Capital Partners LLC
 Silver Point Capital LP
 Sleep Country Canada Holdings Inc.
 Sycamore Partners Management LP
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                                   SCHEDULE 1(l)
                                        Landlord

 0509 CC Ocala Joint Venture                  AK-SAR-BEN Village LLC
 0534 Pensacola Cordova Land LLC              Alexander’s Rego Shopping Center Inc.
 101 & Scottsdale LLC                         Alexandria Main Mall LLC
 1019 Central Avenue Corp.                    Almaden Plaza Shopping Center Inc.
 12535 SE 82nd Ave LLC                        Alpine Cherry Creek LLC
 1301 East Gladstone Street Investors LLC     ALTO Northpoint LP
 13555 TTN LLC                                Amherst Crossing AMA Realty Ventures
 168th & Dodge LP                                LLC
 1700 Oxford Drive Partnership                Anna Mscisz Trust
 200-220 West 26 LLC                          Arapahoe Crossings LP
 209-261 Junction Road Madison Investors      Arboretum Retail LLC
    LLC                                       ARC ASANDSC001 LLC
 2180 Kings Highway DE LLC                    ARC BHTVCMI001 LLC
 2200 Lohman Ave. LLC                         ARC CLORLFL001 LLC
 270 Greenwich Street Associates LLC          ARC CLORLFL001 LLC-Lockbox
 271 South Broadway LLC                       ARC CPFAYNC001 LLC
 28th Street Management Co. LLC               ARC PCBIRAL001 LLC
 293-305 Route 22 East LLC                    ARC PRLAWKS001 LLC
 31535 Southfield Road LLC                    ARC SMWMBFL001 LLC
 36 Monmouth Plaza LLC                        ARC SSSEBFL001 LLC
 3600 Long Beach Road, LLC                    ARC TCMESTX001 LLC
 4S Commons Partners LLC                      ARG BBSCHIL001 LLC
 555 9th Street LP                            ARG CCALBNMOO1 LLC
 5737-5848 North Elizabeth Street Holdings    ARG FSBROWI001 LLC
    LLC                                       ARG GFBOGKY001 LLC
 6034 Azle Avenue LLC                         ARG MPLTRAR001 LLC
 675 AOA Owner LLC                            ARG PSALBNM001 LLC
 81 Associates LLC                            ARG SAABITX001 LLC
 A&W Acquisitions LLC                         ARG SPSPRIL001 LLC
 ABAH LLC                                     ARG SSSTRPA001 LLC
 Aberdeen Commons Associates LLC              ARG TTRALNC001 LLC
 ABJ Group Advancement TX LLC                 Arrowhead Palms LLC
 Acadia Realty LP                             A-S 149 Island Gate Plaza LP
 ACS Fort Smith Pavilion AR LLC               A-S 156 HQSC LP
 ACS Town Square Shopping Center IN LLC       Asbury Shops LLC
 AE Holdings I LLC                            ATT OST Marketplace LLC
 AGC Pacific Coast Plaza LLC                  AVR CPC Associates LLC
 Agree 1031 LLC                               B Comm Realty LLC
 Agree Grand Chute WI LLC                     B33 Erie Marketplace II LLC
 Agree LP                                     B33 Maple Grove II LLC
 Airport Plaza LLC                            Barrywoods Holdings LLC
 AJG Enterprises LLC                          Basser-Kaufman Real Estate
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 Bayer Development Co. LLC                   Broadway Belvedere LLC
 Bayshore Mall Partners                      Brookwood Capital Partners LLC
 BBB Plaza Associates Ltd.                   Brown Ranch Properties LP
 BBP Partners LLC                            Burlington Gateway LP
 BCB Group Investments Tramonto              BV Southwind LLC
     Marketplace LLC                         BV Waco Central Texas Marketplace LLC
 BCC II LLC                                  BVA Avenue LLC
 Beatty LP                                   BVA Deerbrook SPE LLC
 Bell Tower Shops LLC                        BVA Towne Square LLC
 Belleclaire Hotel LLC                       BVA Woodhill LLC
 Belz Investco GP                            BVC Oakwood Commons Inc.
 Benchmark-Clarence Associates LLC           BVCV Union Plaza LLC
 Benderson 85-1 Trust                        CAC Atlantic LLC
 Benderson Properties Inc.                   Cafaro Northwest Partnership, The
 Berkshire Merrill Road LLC                  CAL Development LLC
 BG Monmouth LLC                             Caldwell Mooney Partners II LP
 BIT Holdings Sixty-Three Inc.               Camden Village LLC
 BIT Investment Twenty Seven LLC             Candlewood Lake Road LLC
 Bowles Village Center LLC                   Canton Corners Ford Road LLC
 Boyer Spring Creek LLC                      Canton Marketplace Owner LLC
 Bradenton I LLC                             Canyon Park West LLC
 BRE DDR Fairfax Town Center LLC             Caparra Center Associates LLC
 BRE DDR Flatacres Marketplace LLC           Capital Mall Land LLC
 BRE DDR IVA Southmont PA LLC                Capstone Marketplace LLC
 BRE DDR Lake Brandon Village LLC            Carson Valley Center LLC
 BRE/Pearlridge LLC                          Caruth Acquisition LP
 BREIT Bingo Holdings LLC                    Castle Ridge Associates
 Brentwood Plaza LLC                         Casto-Oakbridge Venture Ltd.
 Bridgewater Falls Station LLC               CD 2007-CD5 Ed Noble Parkway LLC
 Brighton Mall Associates LP                 Center Developments Oregon LLC
 Bristol-Warner Investors LLC                Centerra Retail Shops LLC
 Brixmor Arborland LLC                       Centerton Square Owners LLC
 Brixmor GA Coastal Landing (FL) LLC         Central Mall Port Arthur Realty Holding
 Brixmor GA Cobblestone Village at St.          LLC
     Augustine LLC                           Central Shopping Centers CC LLC
 Brixmor GA Delta Center (MI) LLC            Centre at Deane Hill GP, The
 Brixmor GA Fashion Corner LLC               Centre at Deane Hill LLC, The
 Brixmor GA Springdale/Mobile LP             CFH Realty III/Senset Valey LP
 Brixmor GA Westminster LLC                  CFH Realty III/Sunset Valley LP
 Brixmor Hale Road LLC                       Champlain Center South Associates LLC
 Brixmor Holdings 6 SPE LLC                  Chandler Festival SPE LLC
 Brixmor Property Owner II LLC               Chandler Village Center LLC
 Brixmor SPE 1 LLC                           Charter Warwick LLC
 Brixmor/IA Delco Plaza LLC                  Chase Green Mountain LP
 Brixton Beaumont LLC                        Chenal Place Properties LLC
 Brixton Rogue LLC                           Cherry Hill Retail Partners LLC
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 Chico Crossroads LP                         Daly City Serramonte Center LLC
 Christiana Town Center LLC                  Dartmouth Marketplace Associates LLC
 Closter Marketplace (EBA) LLC               Davenport CRG LLC
 CMR LP                                      DC USA Operating Co. LLC
 Coastal Grand CMBS LLC                      DDR Carolina Pavilion LP
 Cobb Place Property LLC                     DDR Creekside LP
 Cole MT Folsom CA LP                        DDR Del Sol LLC SE
 Cole San Marcos TX LLC                      DDR Guilford LLC
 College Plaza Station LLC                   DDR Hendon Nassau Park II LP
 Colonies-Pacific LLC, The                   DDR Southeast Loisdale LLC
 Columbia Square Kennewick LLC               DDR Southeast Snellville LLC
 Columbia Tech Center LLC                    DDR Winter Garden LLC
 Columbiana Station E&A LLC                  DDRA Tanasbourne Town Center LLC
 Columbus Town Center II LLC                 DDRM Shoppes of Ellenwood LLC
 Commons at Issaquah Inc.                    DDRTC Marketplace at Mill Creek LLC
 Commons at Sugarhouse LC, The               DDRTC Village Crossing LLC
 Concord Investment Co.                      De Rito/Kimco Riverview LLC
 Congressional North Associates LP           Decatur Realty LLC
 Congressional Plaza Associates LLC          Dedham Real Estate Development LLC
 Conroe Marketplace SC LP                    Delco LLC
 Coral Sky Retail LLC                        Delta & Delta Realty Trust
 CP Venture Five-AV LLC                      DeMoulas Super Markets Inc.
 CP Venture Two LLC                          Denver West Village LP
 CPC Gateway Plaza LLC                       Dewcom LLC
 CPT Arlington Highlands 1 LP                DFG-BBB Monroe LLC
 CPT Louisville I LLC                        Dickman & Chernotsky
 CR Hagerstown LLC                           Dierbergs Osage Beach LLC
 CR Mount Pleasant LLC                       Dillon Ridge Marketplace III LLC
 CR Oakland Square LLC                       DJD Partners 10 LLC
 CR West Ashley LLC                          Dollinger-Ventura Associates
 Credi Chattanooga LLC                       Dollinger-Westlake Associates
 Creekstone Juban I LLC                      Donahue Schriber Realty Group LP
 Crestview Hills Town Center LLC             Dong Koo Kim & Jong Ok Kim Family
 Crocker Park Phase III LLC                      Trust, The
 Crossing at 288 Phase 2 Ltd., The           Dorcich-Vidovich
 Crossroads Canada LLC                       Dothan Pavilion Group LLC
 Crosswinds St. Pete LLC                     Downey Landing SPE LLC
 Crystal Mall LLC                            Downtown Summerlin
 CSHV Woodlands II LP                        DPEG Fountains LP
 CSM West Ridge Inc.                         Dreamland of Asheville Associates LLC
 CT Center S.C. LP                           DRP Market Heights Property Owner LLC
 CTC Phase II LLC                            DRP Tulsa Hills Property Owner LLC
 CVSC LLC                                    DS Properties 18 LP
 CW Northridge Plaza LLC                     DT University Centre LP
 Dadeland Station Associates                 DTL-SGW LLC
 Daly City Partners I LP                     DTR1C-SGW LLC
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 DTS Properties LLC                          First Real Estate Investment Trust of New
 Duluth (Gwinnett) SSR LLC                       Jersey Inc.
 Durango Mall LLC                            Five Points Revocable Trust
 E&A Northeast LP                            Flagler SC LLC
 Eager Road Associates West LLC              Flemington Retail LLC
 East Chase Properties LLC                   Forest Plaza LLC
 Easton Market LLC                           Forum Lone Star LP
 Eastridge Mall Realty Holding LLC           FR Assembly Square LLC
 Edens Plaza SC Owner LLC                    FR Camelback Colonnade LLC
 Edgewood Retail LLC                         Franklin Park SC LLC
 Edison BRMA001 LLC                          Freedom Group LLC
 Edison BRMA002 LLC                          Frontier Plaza LLC
 Edison DENJ001 LLC                          FW Ridge Rock Ltd.
 Edison EHNJ001 LLC                          G&I IX Kildeer LLC
 Edison NNVA001 LLC                          G&I IX Primrose Marketplace LLC
 EIG Grand Island LLC                        G&I VII Carriage Crossing LLC
 EIG Wanamaker LLC                           G3C Temple LLC
 Elite Development Group LLC                 Gainesville Associates
 Elmsford-119 Associates LLC                 Garfield-Southcenter LLC
 Empire East LLC                             Gateway Center Properties II LLC
 Encinitas Town Center Associates I LLC      Gateway Fairview Inc.
 Enid Two LLC                                GBR Holmdel Plaza LLC
 Epps Bridge Centre Property Co. LLC         GC Ambassador Courtyard LLC
 Equity One (Florida Portfolio) LLC          Germantown E&A LLC
 Equity One (Northeast Portfolio) LLC        GF Valdosta Mall LLC
 Equity One (Southeast Portfolio) LLC        GG Midlothian TC LLC
 EREP Broadway Commons I LLC                 GG REIF I Gateway LLC
 Evergreen -1-10 & Ray LLC                   GGCal LLC
 ExchangeRight Value-Add Portfolio 2         GK Holiday Village LLC
     Master Lessee LLC                       GKT Shoppes at Legacy Park LLC
 F&H Sinclair Properties                     Glacier 400 Wilbur LLC
 Fairview Shopping Center LLC                Glimcher SuperMall Venture LLC
 Family Center at Federal Way LLC, The       GLP Flint LLC
 Farley Realty Associates                    GM Realty of Bangor LLC
 Federal Realty - Barracks Road (500-2070)   Golden Isles Plaza LLC
 Federal Realty - Gratiot S.C. (500-1220)    Golden Spectrum Property
 Federal Realty Investment Trust             Governors SPV LLC
 Federal Realty Investment Trust Property    Governors Square Plaza
     #1180                                   Grand Mesa Center LLC
 Federal Realty Investment Trust Property    Grand Plaza Management LLC
     #1217                                   Grandbridge Real Estate Capital LLC
 Federal Realty Partners LP                  Granite Park Retail LLC
 Federated Associates                        GRE Altamonte LP
 FHS Promenade LLC                           GRE Broadmoor LLC
 Fidelity Totowa Associates LLC              Green Ridge Holdings LLC
 Finmarc Wildewood LLC                       Greendale 14 LLC
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 Greenwich Place Partners LLC                Jefferson Pointe SPE LLC
 Grewe LP, The                               Jeffrey Management Corp.
 Grove Court Shopping Center LLC             Jemal’s Boulevard LLC
 Hamilton Commons TEI Equities LLC           Jess Ranch Brea Retail XVI LLC
 Hamilton Properties                         JG Elizabeth II LLC
 Hamilton TC LLC                             JLP Kentwood
 Hanes M. Owner LLC                          JLP-Harvard Park LLC
 HART Miracle Marketplace                    JLPK-Orange Park LLC
 Hart TC I-III LLC                           JLP-Novi LLC
 Har-Zait LLC                                Joule Las Palmas Owner LLC
 Hastings Village Investment Co. LP          Jubilee - Cranberry Equity LLC
 Hawthorne Investors 1 LLC                   Jubilee LP
 HCL Texas Avenue LLC                        Jubilee Square LLC
 HCP Vista Ridge LLC                         KBC Properties
 Heritage House South LLC                    KDMM LLC
 Heritage Plaza LLC                          Keene MZL LLC
 Herricks Mineola LLC                        KFT Enterprises No. 2 LP
 HGREIT Edmondson Road LLC                   Kiemle & Hagood Co.
 Highland Commons Associates LLC             Kimco Savannah 185 Inc.
 Hill Management Services Inc.               KIR Brandon 011 LLC
 Hingham Launch Property LLC                 KIR Bridgewater 573 LLC
 Hitchcock Plaza LLC                         KIR Montgomery 049 LLC
 HLT Partnership LP                          KIR Pasadena II LP
 Holmdel GT LP                               KIR Soncy LP
 Houma LA LLC                                KIR Tukwila LP
 HRTC I LLC                                  KMO-361 (Paramus) LLC
 IA LaQuinta Pavilion LLC                    Kraus-Anderson Inc.
 IA Matthews Sycamore LLC                    KRG Avondale McDowell LLC
 IA Sarasota Tamiami LLC                     KRG Cool Springs LLC
 Ikea Property Inc.                          KRG Leesburg Fort Evans LLC
 IMI Huntsville LLC                          KRG Livingston Center LLC
 Imperial Legacy Enterprises LLC             KRG Market Street Village LP
 Inland Commercial Real Estate Services      KRG McDonough Henry Town LLC
     LLC                                     KRG Miami 19th Street II LLC
 Inland National Real Estate Services LLC    KRG New Hill Place LLC
 International Speedway Square Ltd.          KRG Plaza Green LLC
 IRC Retail Centers                          KRG Rivers Edge LLC
 IRC University Crossings LLC                KRG Shops at Moore LLC
 Ireland Davie Ltd.                          KRG Southlake LLC
 ISM Holdings Inc.                           KRG Sunland LP
 I-Southport LLC                             KRG Temecula Commons LLC
 ITAC 192 LLC                                KSI Cary 483 LLC
 IVT Highlands at Flower Mound LP            La Frontera Improvements LLC
 IVT Parke Cedar Park LLC                    La Habra Westridge Partners LP
 Jaydor Bleeker Realty Sub II                Lake Success Shopping Center LLC
 JDN Real Estate Hamilton LP                 Lakeline Plaza LLC
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 Lakes Mall Realty LLC                      Midstate Owner LLC
 Lane Avenue 450 LLC                        M-III Olathe Station Property LLC
 LaSalle Shopping Center LLC                Mishorim Gold Houston LLC
 Levin Management Corp.                     Mishorim Gold Properties LP
 LG-BBB LLC                                 Mission Valley Shoppingtown LLC
 Lilac19 LP                                 Mission Viejo Freeway Center
 Lindale Holdings II LLC                    Mississippi ADP LLC
 Lindale Holdings LLC                       ML-MJW Port Chester SC Owner LLC
 Livesey East LLC                           MLO Great South Bay LLC
 Loja WTP LLC                               MM/PG (Bayfair) Properties LLC
 LPC Retail Accounting                      Monroeville SC LP
 LTC Retail LLC                             Mooresville Crossing LP
 Lynchburg (Wards Crossing) LLC             Morris Plains Holding UE LLC
 M&D Real Estate LP                         Mountain Grove Partners LLC
 M&J Big Waterfront Market LLC              MP Northglenn LLC
 M.O.R. Snowden Square Limited              MS Flowood LP
     Partnership                            MSS Millburn Realty Co.
 Macerich Lakewood LP                       NADG/TRC Lakepointe LP
 Mad River Development LLC                  National Retail Properties LP
 Magnolia Commons SC LLC                    New Plan of West Ridge LLC
 Main Street at Exton LP                    Newbridge LLC
 Mall at Gurnee Mills LLC                   Newburgh Mall Ventures LLC
 Mall at Potomac Mills LLC                  NEWKOA LLC
 Manalapan UE LLC                           NewMarket Square Ltd.
 Manhattan Marketplace Shopping Center      News Co. LLC
     LLC                                    Newtown Bucks Associates LP
 Mansell Crossing Retail LP                 North Attleboro Marketplace II LLC
 Marin Country Mart LLC                     North Massepequa LLC
 Marketplace at Vernon Hills LLC            North Park Crossing LC
 Marketplace West Partners LLC              North Village Associates
 Maverick Investors LLC                     Northeast Holdings LLC
 McAllen TX LLC                             Northgate Mall Partnership
 McKinley Mall Realty Holding LLC           Northington Mechanicsburg Investors LLC
 MCS-Lancaster De Holding LP                Northville Retail Center Joint Venture LLC
 MCV23 LLC                                  Northway Mall Properties LLC
 MDC Coastal I LLC                          Northwoods III (San Antonio) LLC
 Medistar Parkwest JV Ltd.                  NP Royal Ridge LLC
 Meridian Kellogg LLC                       NPMC Retail LLC
 Meridian Mall LP                           NPP Development LLC
 Metropolitan Life Insurance Co.            Oak Leaf Property Management LLC
 MFC Longview LLC                           Oak Street Investment Grade Net Lease
 MFS Eastgate-I LLC                            Fund Series 2021-1 LLC
 MGP IX Properties LLC                      Oak Street Investment Grade Net Lease
 MGP XII Magnolia LLC                          Fund Series 2021-2 LLC
 Middletown I Resources LP                  Oakland Iron Works Associates
 Middletown Shopping Center I LP            Oaks Square Joint Venture
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 Ogden CAP Properties LLC                     Prescott Gateway Mall Realty Holding LLC
 Old Bridge Market Place II LLC               Presidential Markets
 Olivet Kom LLC                               Price/Baybrook Ltd.
 OLP Champaign Inc.                           PRLHC Annapolis Town Center Parole
 Onni Burbank Town Center LLC                     162302
 Oracle Plaza LLC                             Promenade Delaware LLC
 Orchard Hill Park                            Promenade D’Iberville LLC, The
 ORF V Sugarcreek Plaza LLC                   PRU/Desert Crossing II LLC
 ORF VII Felch Street LLC                     PTC TX Holdings LLC
 ORF VII Pelican Place LLC                    PT-USRIF Meridian LLC
 Overton Park Plaza Associates LLC            QCM Partners LLC
 Pace - 64 Associates LLC                     Quail Creek Crossing Ltd.
 Pacific Coast Highway Property LLC           R&F Garden City LLC
 Pagosa Partners III Ltd.                     R.E.D. Capital Management LLC
 Palouse Mall LLC                             R.K. Associates VIII Inc.
 Panama City Beach Venture II LLC             R.K. Middletown LLC
 PAPF Dimond LLC                              RAF Jackson LLC
 PAPF Redding LLC                             RAF Johnson City LLC
 Pappas Laguna LP                             RAF Lake Charles LLC
 Paramount JSM at Jenkintown LLC              Rainbow Arroyos Commons LLC
 Paramount Newco Realty LLC Upland            Rainier Colony Place Acquisitions LLC
 Paramount Plaza at Brick LLC                 Rainier Summit Woods Acquisitions LLC
 Park West Village Phase I LLC                Ramco-Gershenson Properties LP
 Parkmall LLC                                 Ramsey Interstate Center LLC
 Parkway Crossing East Shopping Center LP     Ranch Town Center LLC
 Partridge Equity Group I LLC                 Rancho Dowlen LLC
 Patterson Place Durham LLC                   Rancho Texarkana Investors LLC
 Pavilions at Hartman Heritage LLC            Ravid Lake St. Louis II LLC
 Pearland RJR LLC                             RCG-Sparks LLC
 Pergament Mall of Staten Island LLC          Realty Income Properties 27 LLC
 Perrysburg Enterprise LLC                    Redfield Promenade LP
 Petoskey Mall Associates LLC                 Redlands Joint Venture LLC
 PGS Burlington                               Regency Centers LP
 Pinnacle North II LLC                        Regent Shopping Center Inc.
 Pioneer Hills SPE LLC                        Rehoboth Gateway LLC
 Pittsburgh Hilton Head Associates            Revesco (USA) Properties of Bozeman LP
 Pivotal 650 California St. LLC               Richards Clearview LLC
 PL Dulles LLC                                Ridge Park Square LLC
 Pleasant Hill Crescent Drive Investors LLC   Ridgeport LP
 PMAT Waterside LLC                           River Park Properties II
 PMH Properties LLC                           Riverchase Crossings LLC
 Pontiac Mall LP                              Riverdale Center North LLC
 Poughkeepsie Plaza Mall LLC                  Riverview Plaza (E&A) LLC
 PP-Gaston Mall LLC                           Riviera Center Properties HITF
 Premier Centre LLC                           RK Coral Palm Plaza LLC
 Premium Properties LLC                       RK Hialeah LLC
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 RK Pembroke Pines LLC                     Seritage SRC Finance LLC
 RK Southington LLC                        Serota Islip NC LLC
 Rockaway Town Court LLC                   SF WH Property Owner LLC
 Rockwall Crossing Ltd.                    Shadowwood Square Ltd.
 Rogers Retail LLC                         Shelby Corners RE Holdings LLC
 ROIC California LLC                       SHI Owner LLC
 Rolling Hills Plaza LLC                   Shiloh Venture LLC
 Ronald Benderson 1995 Trust               Shoppes at Hamilton Place CMBS LLC,
 Rosedale Commons LP                           The
 Rosemont 2019 LLC                         Shoppes at Wilton LLC, The
 Route 206 Northbound LLC                  Shops at Summerlin South LP, The
 Roxville Associates                       Shops of Tupelo LLC, The
 RPAI Butler Kinnelon LLC                  Shreve Center DE LLC
 RPAI King’s Grant II LP                   Shrewsbury Commons
 RPAI Lakewood LLC                         Siegen Lane Properties LLC
 RPAI San Antonio Huebner Oaks GP LLC      Sigfeld Realty Marketplace LLC
 RPAI Southwest Management LLC             Silvertown Inc.
 RPI Interests II Ltd.                     Simon Property Group LP
 RPT Realty LP                             Simsbury Commons LLC
 RPT Terra Nova Plaza LLC                  SIPOC LLC
 RREEF America REIT II Corp. MM            Sir Barton Place LLC
 Running Hill SP LLC                       Site C LLC
 Ruscio Management LLC                     Skyway Regional Shopping Center LLC
 Rushmore Crossing Associates LLC          SLO Promenade DE LLC
 RXR 620 Master Lessee LLC                 SM Eastland Mall LLC
 S & E Realty Co. Inc.                     South Frisco Village SC LP
 Salmar Properties LLC                     South Town Owner PR LLC
 Sandusky Pavilion                         SOUTHAVEN TOWNE CENTER II LLC
 Santa Fe Mall Property Owner LLC          Southgate Mall Montana II LLC
 Santa Rosa Town Center                    Southridge Plaza LLC
 SanTan MP LP                              SP Bossier LLC
 Santee Trolley Square 991 LP              Sparkleberry Square
 Sanzari 89 Associates LP                  SPG Doral Retail Partners LLC
 Saul Holdings LP                          Spirit VC Victoria TX LLC
 Savi Ranch Group LLC                      Spring Creek Improvements LLC
 Sayville Plaza Development Co.            Spring Ridge LP
 SBLO Barrett Pavilion LLC                 Springfield Plaza LLC
 SCA Tree 1 LLC                            SREIT Palm Beach Lakes Blvd LLC
 Schnitzer Stephanie LLC                   SRK Lady Lake 21 SPE LLC
 Scottsdale Fiesta Retail Center LLC       SRL Crossings at Taylor LLC
 SDC/Pacific/Youngman-Santa Ana            St. Cloud Rainbow Village LLC
 Seaview Acquisition LLC                   Star-West Chicago Ridge LLC
 Sebanc, Allan A.                          Stone Creek Retail LLC
 Sebanc, Beverly M.                        Stop & Shop Supermarket Co. LLC, The
 Section 14 Development Co.                Stram Associates
 SEP Augusta LLC                           Strip Delaware LLC, The
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 Studio City East 93K LLC                  Tyler Broadway/Centennial LP
 Sunbury Gardens Realty Co.                UB Stamford LP
 Sunmark Property LLC                      UE 675 Paterson Avenue LLC
 Sunnybrook Partners LLC                   UE 675 Route 1 LLC
 Sunrise Mills (MLP) LP                    UG2 Solon OH LP
 Sunset & Vine Apartment                   UH US Lynncroft 2019 LLC
 Sunset Hills Owner LLC                    University Mall Realty LLC
 Super LLC                                 University of Louisville Real Estate
 Surprise Marketplace Holdings LLC             Foundation Inc.
 SVAP II Creekwalk Village LLC             Uptown Group LLC
 Sycamore Browns Valley LLC                Urstadt Biddle Properties Inc.
 Taft Corners Associates                   US 41 AND I-285 Co. LLC
 Talisman Towson LP                        US REIF Joliet SC Fee LLC
 Tamarack Village Shopping Center LP       USPP Fischer Market Place LLC
 Target Jefferson Boulevard LLC            UTC LP
 TCSC LLC                                  V & V 224 Ltd.
 Telegraph Marketplace Partners II LLC     V&V Stores Inc.
 TFP Limited Real Estate Development       Valencia Marketplace I LLC
 THF Harrisonburg Crossings LLC            Valley and Plainfield Associates LP
 THF Shawnee Station LLC                   Valley Hills Mall LLC
 THF/MRP Tiger Town LLC                    Valley Square I LP
 Thoroughbred Village LLC                  VAM Ltd.
 TJ Center LLC                             Vestar Best In The West Property LLC
 TKG - Manchester Highlands Shopping       VF Center Associates LP
     Center LLC                            Village Developers
 TKG Biscayne LLC                          W/S Brunswick Properties II LLC
 TKG Coral North LLC                       W/S Hadley Properties II LLC
 TKG Logan Town Centre LP                  W-ADP Harvest Junction OP Owner VIII
 TKG Monroe Louisiana 2 LLC                    LLC
 TKG Mountain View Plaza LLC               Waldorf Shopper’s World
 TKG Paxton Towne Center Development       Wallace Real Estate Co.
     LP                                    Watchung Square Associates LLC
 TKG Woodmen Commons LLC                   Water Tower Square Associates
 TL Street Marketplace NE LLC              Waterford Lakes Town Center LLC
 Totowa UE LLC                             WBP Central Associates LLC
 Tower Burlington LLC                      WCK LC
 Town & Country (CA) Station LP            Weatherford Dunhill LLC
 Town Pointe Associates                    Weingarten Nostat Inc.
 TPC Stonewall Investors I LC              Weingarten Realty Investors - Co. 001
 TPP 207 Brookhill LLC                     West 64th Street LLC
 TPP Bryant LLC                            Westgate Mall CMBS LLC
 Trahwen LLC                               Westminster Crossing East LLC
 TREA NW Forum at Carlsbad Owner LLC       Wethersfield Shopping Center LLC
 Truss Realty Co.                          WF Kingsbury Center LLC
 TSO Winchester Station LP                 White Goose LLC
 Tucson Shopping Center LLC                Whitemak Associates
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 Whitemak Associates & PREIT
 Whitestone Eldorado Plaza LLC
 Widewaters Group Inc., The
 Willowbrook Town Center LLC
 Will-Ridge Associates LLC
 Windsor Park Estates Silverdale LLC
 WM Acquisition Delaware LLC
 WM Associates LP
 WMG Meadows LLC
 Wood Stone Plano Partners LLC
 Woolbright Wekiva LLC
 WR Partners LLC
 WRG Homestead LLC
 WRI Mueller LLC
 WRI/Raleigh LP
 WRI-URS South Hill LLC
 Wutsboro Associates LLC
 ZP No. 171 LLC
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                                 SCHEDULE 1(m)
                                   Lender Advisor

 FTI Consulting Inc.
 M3 Partners LP
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                                   SCHEDULE 1(n)
                               Letter of Credit Beneficiary

 Agua Mansa Commerce Phase I
 American Alternative Insurance (BBB)
 American Alternative Insurance (CTS)
 Arch Insurance Co.
 BHF International Ltd.
 Bissell International Trading
 Breville USA Inc.
 Chubb - Federal Insurance
 CIT Group, The/Commercial Services
 Dyson Canada Ltd.
 Dyson Inc.
 JB Hunt Transport Inc.
 Mattel Inc.
 Milberg Factors Inc.
 Monahan Products LLC
 National Cart LLC
 Newell Brands Inc.
 North American Corp. of Illinois
 RXR 620 Master Lessee LLC
 Safety National Casualty
 Sentry Insurance
 Travelers Casualty & Surety Co.
 Trisura Insurance
 United States Fidelity & Guaranty
 Welspun USA Inc.
 Whirlpool Corp.
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                               SCHEDULE 1(o)
                            Letter of Credit Provider

 Bank of America NA
 JPMorgan Chase Bank NA
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                                       SCHEDULE 1(p)
                                          Litigation

 Abram, Harwick Chya                              Raslavich, Anna
 AML IP LLC                                       Reimer, Ruhi
 Amos, Sadina                                     Richmond, Simon Nicholas
 Anderson, Carol                                  Sawgrass
 APS&EE                                           Schaumburg, Village of (IL)
 Augenbaum, Todd                                  Si, Pengcheng
 Bell, Ema                                        Smith, Patricia
 Blue Cross Blue Shield (Anthem)                  Spalding, James
 Burt-Deasy, Kelly                                SSS Village at West Oaks
 CA 5-15 West 125th LLC                           Systems LLC
 CAC Atlantic LLC                                 Team Worldwide Corp.
 Cahill, Doreen                                   Topalli, Leutrim
 California, State of                             Waite, Joshua
 Cohen, Judith                                    Williams & Frost Specialty Group
 Council for Education & Research on              World Market of Texas LLC
     Toxics
 Davaco Inc.
 Davis, Chuck
 Decatur Mall
 Design Toscano
 Emcor Facilities Services Inc.
 Environmental Health Advocates
 Floriey Industries
 Fox River Commons
 Frederick, Randall
 Freeman, Alan
 Gastelum, Fernando
 Georgiou, Katerina
 Giebe, Michael
 Hayden, Shadi
 Hess, Donald
 Johnson, Jeffrey
 Kelly, Whitney
 Kingston, Donette
 Lopez, Florencia
 Mediant Communications Inc.
 Munday, Janice
 Newburgh Mall Ventures
 Only Kids Apparel LLC
 Padilla, Elizabeth
 Patrick, Jeremy
 Place Services
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                                   SCHEDULE 1(q)
                        Office of the United States Trustee & Judge

 Alfaro, Adela
 Ardelean, Kirsten K.
 Arendas, Francyne D.
 Artis, Michael
 Bielskie, Lauren
 D’Auria, Peter J.
 Fuentes, Neidy
 Gerardi, David
 Green, Tia
 Hildebrandt, Martha
 Kern, Joseph C.
 Kropiewnicki, Daniel C.
 McGee, Maggie
 Nikolinos, Alexandria
 Oppelt, Tina L.
 Ortiz-Ng, Angeliza
 Schneider, Robert J., Jr.
 Shaarawy, Adam
 Sponder, Jeffrey
 Steele, Fran B.
 Stives, James
 Vara, Andrew
 Ziemer, William J.
 Papalia, Vincent F.
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                                     SCHEDULE 1(r)
                                Ordinary Course Professional

 AnyBill
 Avalara
 Crowell & Morning LLP
 Deloitte
 Epstein Becker & Green PC
 Faegre Drinker Biddle & Reath LLP
 Greenspoon Marder LLP
 Hill Ward & Henderson PA
 Huth Reynolds LLP
 Jackson Lewis PC
 KPMG
 Lerner David LLP
 Lester Schwab Katz & Dwyer LLP
 Mackay Law Inc.
 McKool Smith
 Morgan Lewis & Bockius LLP
 Norton Rose Fulbright US LLP
 Osler Hoskin & Harcourt LLP
 Perkins Coie LLP
 PricewaterhouseCoopers International Ltd.
 Pryor Cashman
 Riker, Danzig, Scherer, Hyland & Perretti LLP
 Transaction Tax Resources Inc.
 Vintage Law LLC
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                                       SCHEDULE 1(s)
                                        Secured Lender

 Bank of America NA
 Bank of Montreal
 Capital One NA
 Goldman Sachs Bank USA
 JPMorgan Chase Bank NA
 MUFG Union Bank NA
 PNC Bank NA
 Sixth Street Lending Partners
 Sixth Street Specialty Lending Inc.
 TAO Talents LLC
 TD Bank NA
 Truist Bank
 Webster Bank
 Wells Fargo Bank NA
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                                   SCHEDULE 1(t)
                                        Trade

 Accenture LLP                                  Crossmark Inc.
 Acosta Inc.                                    Crystal of America
 ActionLink Services LLC                        Cuisinart Inc.
 Aden & Anais Inc.                              Cybersource Corp.
 Adobe Systems Inc.                             Data Networks
 Afa Protective Systems Inc.                    Datapipe Inc.
 Akamai Technologies Inc.                       Davaco Inc.
 Apollo Retail Specialists LLC                  Deloitte Consulting LLP
 Applied Predictive                             Design Productions
 Appriss Retail                                 Displaymax Inc.
 Artsana USA Inc.                               DRM Waste Management Inc.
 Assemble Partners                              Dyson Canada Ltd.
 Atlas Sign Industries Inc.                     Dyson Inc.
 Babybjorn Inc.                                 E. Mishan & Sons Inc.
 Bay Island LLC                                 Euro-Line Appliances Inc./CA/VDC
 Beachwaver Co., The                            Evenflo Co. Inc.
 Berkshire Blanket & Home Co. Inc.              Everyday Health Inc.
 Blendjet Inc.                                  Exploramed NC7 Inc.
 Blue Yonder Inc.                               F 3 Metalworx Inc.
 Breville USA Inc.                              Facebook Inc.
 Bridgetree LLC                                 Federal Heath Sign Co. LLC
 Britax Child Safety Inc.                       Federated Service Solutions
 Broadridge                                     First Data Corp. Integrated Pay
 Butterblu LLC                                  Fisher Price Baby Gear
 Caliber Americas LLC                           Fisher Price Toys
 Caraway Home Inc.                              Flexprint LLC
 Carpenter Co.                                  Fridababy LLC
 Carrier Corp.                                  Funder America Inc.
 CCA & B LLC                                    GFA Inc.
 Cella Inc.                                     Gibson Overseas Inc.
 Centric Software Inc.                          Ginsey Industries Inc.
 Chain Store Maintenance Inc.                   Gotham Technology Group LLC
 Cisco Systems Capital Corp.                    Granite Telecommunications LLC
 CitrusAd International Inc.                    Hallmart Collectibles Inc.
 Cleary Gottlieb Steen & Hamilton LLP           Halo Innovations Inc.
 Comfort Revolution                             Halo Innovations Inc./VDC
 Comm Works LLC                                 Hilco Merchant Resources LLC
 Commerce Technologies LLC                      Himatsingka America Inc.
 Commission Junction Inc.                       Holt Construction Corp.
 Continental Web Press Inc.                     Homedics USA LLC
 Copper Pearl Inc.                              Hudson’s Holiday Helpers
 Coway USA Inc.                                 IBM Corp. TR4
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 IDX LLC                                     NCR Corp.
 Inside Edge Commercial Interior Services    Newell Brands Canada ULC/CA/VDC
     LLC                                     Noritake/VDC
 Intelligrated Systems LLC                   North American Corp.
 Intersoft Data Labs Inc.                    NTT America Inc.
 Iron Mountain Records Management            OMI Industries Inc.
     Services                                One Network Enterprises Inc.
 Itential Inc.                               Oracle America Inc.
 JB Hunt Transport Inc.                      Pem America Inc.
 Jonathan Y Designs Inc.                     Philips Consumer Lifestyle BV
 KAZ USA Inc. PUR                            Ping Identity Corp.
 KDM POP Solutions Group                     Pinterest Inc.
 Keeco LLC / Poly-Filled Bed Pillow          Place Services Inc.
 Kepler Group LLC                            Premier Workforce Inc.
 Keurig Green Mountain Inc.                  PRGX USA Inc.
 KitchenAid Portable Appliances              Pros Choice Beauty Care Inc.
 Knot Worldwide Inc., The                    Quantum Metric Inc.
 Kone Inc.                                   Rackspace Hosting Inc.
 KPMG LLP                                    Redwood Supply Chain Solutions
 KPRS Construction Services Inc.             Resource Plus of North Florida Inc.
 Kreber Inc.                                 ReStore Capital LLC
 Krups Rowenta Inc.                          Richards Homewares Inc.
 Lennox National Account Services Inc.       Riskified Inc.
 Levtex LLC                                  RR Donnelley & Sons Co.
 Lifetime Brands Inc.                        Ryder Integrated Logistics Inc.
 Logixal Inc.                                Safavieh Inc.
 M Booth & Associates LLC                    Sailpoint Technologies Inc.
 Madix Inc.                                  Salesforce.Com Inc.
 Manhattan Associates Inc.                   Sama Plastics Corp.
 Marlite Inc.                                SAS Institute Inc.
 MCG Architecture                            SBC Advertising Ltd.
 Merchsource LLC                             Schneider Logistics Inc.
 Merkle Inc.                                 SF Home Decor LLC
 Metro One Loss Prevention Services Group    Sharkninja Operating LLC
     Inc.                                    Simply Mommy LLC/Snuggle Me
 Microsoft Online Inc.                       Skip Hop Inc.
 Million Dollar Baby/VDC                     Spin Master Inc.
 Mirakl Inc.                                 St. George Distribution Corp.
 Mle Development Ltd.                        Storflex Fixture Corp.
 Mobile Mini Texas Ltd.                      Studio Mococo LLC
 Modern Space Pacific Services               Sumologic Inc.
 Morning Consult LLC, The                    Sun Industrial Inc.
 My Move LLC                                 Sunbeam Products Inc./Calphalon
 Narrativ Co. Inc., The                      Swiftwin Solutions Inc.
 National Tree Co.                           Tata Consultancy Services Ltd.
 Navco Security Systems                      Tealium Inc.
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 Technibilt Ltd.
 Tempur-Pedic North America LLC
 Teradata Corp. Inc.
 Testrite Products Corp.
 Tineco Intelligent Inc.
 Tms Construction Inc.
 Toshiba GCS
 Tyco Integrated Security LLC
 Udisense Inc./Nanit
 United Rentals Inc.
 US Maintenance
 VeriFone Inc.
 Verizon Business Network Services Inc.
 Verizon Wireless Services LLC
 Vornado Air LLC
 Walker Edison Furniture Co. LLC
 Wamsutta
 Werner National LLC
 Wesco Services LLC
 William Carter Co.
 Williams & Frost Specialty Group
 Wilton Industries Inc.
 World Distribution Services
 Wunderkind Corp.
 Yard NYC
 Zadro Inc.
 Zemoga Inc.
 Zipline LLC
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                                     SCHEDULE 1(u)
                                        UCC Lien

 American Greetings Corp.
 Dimension Data North America Inc.
 Hallmark Marketing Co. LLC
 JPMorgan Chase Bank NA
 Papyrus-Recycled Greetings Inc.
 Somerset Capital Group Ltd.
 Voxx Accessories Corp.
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                                    SCHEDULE 1(v)
                                  Unsecured Noteholder

 1832 Asset Management LP                      Finlabo SIM SpA
 AllianceBernstein LP (US)                     Flow Traders U.S. LLC
 Alta Capital Management LLC                   Foxhill Capital Partners LLC
 Altrius Capital Management Inc.               Franklin Advisers Inc.
 Ameritas Life Insurance Corp. of New York     GIA Partners LLC
 APG Asset Management US Inc.                  Goldman Sachs Asset Management LP (US)
 AQS Asset Management LLC                      GSO Capital Partners LP
 Aristotle Capital Management LLC              Healthcare of Ontario Pension Plan
 Asset Allocation & Management Co. LLC         Highbridge Capital Management LLC
 Aviary Capital Enterprises Inc.               Hotchkis & Wiley Capital Management
 Banco de Sabadell SA                              LLC
 Bank of America Merrill Lynch Proprietary     HSBC Bank PLC
     Trading                                   International City Management Association
 Barclays Capital Inc.                             Retirement Corp.
 Bivium Capital Partners LLC                   Invesco Advisers Inc.
 BlackRock Advisors LLC                        Invesco Capital Management LLC
 Blackstone Liquid Credit Strategies LLC       JPMorgan Investment Management Inc.
 BlueCrest Capital Management (U.K.) LLP       JPMorgan Securities LLC
 BNP Paribas Asset Management France           KSKJ Life American Slovenian Catholic
 BNP Paribas Securities Corp.                      Union
 BondBloxx Investment Management Corp.         Lawson Kroeker Investment Management
 BVK- Beamtenversicherungskasse des                Inc.
     Kantons Zurich                            LM Capital Group LLC
 Cable Car Capital LLC                         Lombard Odier Asset Management Europe
 California Public Employees Retirement            Ltd.
     System                                    MacKay Shields LLC
 Canal Insurance Co.                           Manhattan Life Insurance
 CapitalatWork Foyer Group SA                  Manning & Napier Advisors LLC
 Carillon Tower Advisers Inc.                  Marathon Asset Management Ltd.
 CastleKnight Management LP                    Mellon Investments Corp.
 Catholic Family Fraternal of Texas            Millennium Advisors LLC
 Chartwell Investment Partners LLC             Miller Value Partners LLC
 Chicago Capital LLC                           Mirabaud Asset Management Ltd.
 CIGNA Investments Inc.                        Mont Blanc Capital Management AG
 Citigroup Global Markets Inc.                 Morgan Stanley & Co. LLC
 Croatian Fraternal Union of America           Murchinson LP
 CTC Alternative Strategies Ltd.               Muzinich & Co. Inc.
 DBX Advisors LLC                              Napier Park Global Capital (US) LP
 Deutsche Bank Securities Inc.                 New Jersey, State of, Division of Investment
 Diamond Insurance Group Ltd.                  New York, City of (NY), Comptroller’s
 FBL Investment Management Services Inc.           Office
 Fidelity Management & Research Co. LLC        Northern Trust Global Investments Ltd.
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 Northwestern Mutual Investment
     Management Co. LLC
 Nykredit Bank AS
 Oppenheimer Asset Management Inc.
 Pension Reserves Investment Management
     Board
 PFA Asset Management AS
 PGIM Inc.
 Pharus Management SA
 PNC Bank NA
 Russell Investment Management LLC
 Safeway Insurance Group
 Safra Securities LLC
 Seix Investment Advisors LLC
 Selected Funeral & Life Insurance Co.
 SG Americas Securities LLC
 Shlomo Holdings Ltd.
 SMH Capital Advisors LLC
 Squarepoint OPS LLC
 State Street Global Advisors
 SumRidge Partners LLC
 Tennessee Farmers Mutual Insurance Co.
 TOBAM
 UBS Securities LLC
 USA Life One Insurance Co. of Indiana
 Van Eck Associates Corp.
 Verition Fund Management LLC
 Virtus Investment Advisers Inc.
 Western Asset Management Co. LLC
 Zest SA
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                                     SCHEDULE 1(w)
                                         Utility Provider
 Aberdeen, Town of (NC)                              Auburn, Town of
 Abilene, City of (TX)                               Augusta Utilities Department
 AES Indiana                                         Aurora Water
 AES Ohio                                            Austin, City of (TX)
 Aiken, City of (SC)                                 Autoridad de Acueductos y Alcantarillados
 Alabama Power Co.                                       (Central)
 Albuquerque Bernalillo County                       Avista
 Alderwood Water & Wastewater District               Avondale, City of (AZ)
 Alectra Utilities                                   AW Billing Services LLC
 Alectra Utilities Corp.                             Bakersfield, City of (CA)
 Alexandria, City of (LA)                            Baldwin EMC
 Alliant Energy IPL                                  Bangor Natural Gas
 Alliant Energy WP&L                                 Bangor Water District
 Alliant Energy WPL                                  Baton Rouge Water Co.
 Altamonte Springs, City of (FL)                     BC Hydro
 Altoona Water Authority                             BCWSA
 Ameren Illinois                                     Beaches Energy Services
 Ameren Missouri                                     Beaufort Jasper
 American Electric Power                             Beaumont, City of
 American Water & Energy Savers                      Beaverton, City of
 American Water Works Co. Inc.                       Bel Air, Town of (MD)
 Ammon, City of (ID)                                 Belleville, City of (Ontario)
 Ann Arbor, City of (MI), Water Utilities            Bellingham, City of (WA)
 Antioch, City of                                    Bend, City of (OR), Utilities
 Appalachian Power                                   Benton PUD
 Apple Valley, City of (MN)                          Berkshire Gas Co.
 APS                                                 Beverly Hills Water Department
 Aqua Illinois Inc.                                  BGE
 Aqua Indiana                                        Billings, City of (MT)
 Aqua New Jersey                                     Bismark, City of (ND), Water Department
 Aqua Ohio Inc.                                      Black Hills Energy
 Aqua Pennsylvania                                   Boca Raton, City of (FL)
 Aquarion Water Co. of CT                            Boise City Utility Billing
 Arkansas Oklahoma Gas Corp.                         Bossier City Utilities Department
 Arnold Line Water                                   Bowling Green Muni Utilities
 Asheville, City of (NC)                             Boynton Beach, City of (FL)
 Ashwaubenon Water & Sewer Utilities                 Bozeman, City of (MT)
 ATCO Energy                                         Bradley, Village of (IL)
 Atlanta, City of (GA)                               Braintree Electric Light Department
 Atlantic City Electric                              Braintree Water & Sewer Department
 Atmos Energy                                        Brantford Power Inc.
 Auburn Water District                               Brantford, City of (Ontario)
 Auburn, City of                                     Brazoria County Mud #6
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 Brick Township MUA                           Chesterfield, County of (VA)
 Brighton, City of                            Chicago Ridge, Village of (IL)
 BrightRidge                                  Christiansburg, Town of (VA)
 Bristol Tennessee Essential Service          Chugach Electric Association
 Bristol, City of (TN), Finance Department    Citizens Energy Group
 Brixmor Holdings 11 SPE LLC                  Citizens Westfield Utilities
 Brodhead Creek Regional Authority            City Utilities
 Brookfield, City of (WI), Utilities          City Water, Light & Power
 Broward County Water & Wastewater            Clackamas River Water
     Services                                 Claremont, City of (NC)
 Brunswick Glynn County Joint                 Clark County Water Reclamation District
 Buena Park, City of (CA)                     Clark Public Utilities
 Buford, City of (GA)                         Clarksville Department of Electricty
 Burlington, City of (NC)                     Clarksville Gas & Water
 Burlington, Town of                          Clarksville Wastewater Treatment
 Butler County Water & Sewer Department           Department
 Butler, Borough of (NJ)                      Clearwater, City of
 California Water Service                     Cleco Power LLC
 California Water Service Co.                 Cleveland, City of (OH), Division of Water
 Cambridge, Corporation of the City of        Coachella Valley Water District
     (Ontario)                                Coast EPA
 Canton Township Water Department             Cocoa, City of (FL)
 Cape Coral, City of (FL)                     Coeur d’Alene, City of (ID)
 Cape Fear Public Utility Authority           Cole MT San Marcos TX LLC
 Capital Electric Cooperative Inc.            College Station Utilities
 Carbondale Water & Sewer                     Collier County Utilities
 Carle Place Water District                   Colonie, Village of (NY), Water District
 Carroll Electric Cooperative Corp.           Colorado Springs Utilities
 Cary, Town of (NC)                           Columbia Gas of Kentucky
 Cascade Natural Gas                          Columbia Gas of Maryland
 Caseyville Township Sewer                    Columbia Gas of Ohio
 Cass County Electric Cooperative             Columbia Gas of Pennsylvania
 Cedar Rapids Municipal Utility               Columbia Gas of Virginia
 Centerpoint Energy                           Columbia, City of (MO)
 Central Arkansas Water                       Columbus Water Works
 Central Hudson Gas & Electric Corp.          ComED
 Central Maine Power                          Con Edison
 Chandler, City of (AZ)                       Concord, City of (NH)
 Charles County Government                    Connecticut Natural Gas Corp.
 Charleston Water System                      Connecticut Water Co., The
 Charlotte, County of (FL), Utilities         Conroe, City of (TX)
 Charlottesville, City of (VA)                Conservice
 Charter Township of Chesterfield             Consolidated Edison Co. of NY
 Charter Township of Meridian                 Consolidated Utility District
 Chattanooga Gas                              Consolidated Waterworks Dist 1
 Chattanooga, City of (TN)                    Consumers Energy
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 Contra Costa Water District                Duke Energy Corp., Payment Processing
 Coral Springs Improvement District         DuPage County Public Works
 Coralville, City of (IA)                   Duquesne Light Co.
 Core Electric Cooperative                  Durham, City of (NC)
 Corpus Christi, City of (TX)               East Brunswick Township Water Sewer
 Cortlandt, Town of (NY)                    East Hanover, Town of (NJ)
 Coserv                                     East Lampeter, Township of (PA)
 Cowlitz PUD                                Easton Suburban Water Authority (PA)
 CPS Energy                                 Eastward Energy Inc.
 Crystal Lake, City of (IL)                 Edmond, City of (OK)
 Cuivre River Electric Cooperative          El Paso Electric
 Dakota Electric Association                El Paso Water Utilities Inc.
 Dallas, City of (TX)                       Electric City Utilities
 Daly City, City of (CA)                    Elexicon Energy
 Danvers, Town of (MA)                      Elizabethtown Gas Co.
 Danvers, Town of (MA), Water & Sewer       Elizabethtown, City of (KY), Utilities
 Daphne Utilites                            Elmsford, Village of (NY)
 Dartmouth, Town of (MA)                    Enbridge
 Davenport, City of                         Enbridge Gas Distribution Inc.
 Dayton Power & Light Co.                   Enbridge Gas Inc.
 Daytona Beach, City of (FL)                Energie NB Power
 Dedham Westwood Water District             Energy West Montana Inc.
 Delmarva Power                             Energy+ Inc.
 Delray Beach, City of (FL)                 Engie Resources LLC
 Delta, Charter Township of (MI)            ENMAX
 Denton, City of (TX)                       Enstar Group Ltd.
 Denver Water                               Entergy Corp.
 Destin Water Users Inc.                    Entergy Texas Inc.
 Diberbille, CIty of (MS)                   EPB Ltd.
 Dillon, Town of (CO)                       EPCOR Electricity Distribution Inc.
 Direct Energy Business LLC                 EPCOR Inc.
 Direct Energy Regulated Services           Erie, County of (OH), Sewer & Water
 Dixie Electric Cooperative Inc.            Eugene Water & Electric Board
 Dominion Energy Inc.                       Euless, City of (TX)
 Dominion Energy Ohio Inc.                  Eureka, City of (CA)
 Dominion Energy South Carolina Inc.        Evergy Inc.
 Dominion Energy Virginia Inc.              Eversource Energy
 Dothan Utilities                           Fairclough Propane
 Dothan, City of (AL)                       Fairfax Water
 Downers Grove Sanitary District (IL)       Fargo, City of (ND)
 Downers Grove, Village of (IL)             Fayetteville Public Works Commission
 Downey, City of (CA)                       Federal Realty Investment Trust
 DTE Energy Co.                             First Real Estate Investment Trust
 Dublin San Ramon Services District         Flathead Electric Cooperative Inc.
 Dubuque, City of (IA)                      Flint Electric Membership Corp.
 Duke Energy Corp.                          Florence Utilities Dept.
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 Florence, City of                            Greenlawn Water District
 Florida City Gas                             Greensboro, City of (NC)
 Florida Power & Light Co.                    Greenville Utilities Commission
 Florida Power & Light Northwest FL           Greenville Water
 Florida Public Utilities Co. Inc.            Greenwood Sanitation Dept.
 Flower Mound, Town of (TX)                   GRI-EQY Presidential Markets LLC
 Flowood, City of (MS)                        Gulf Power Co.
 Fort Bend Co. Water Control &                Gulf Shores, City of (AL)
     Improvement District #2                  Gurnee, Village of (IL)
 Fort Collins Utilities                       Hadley, Town of
 Fort Lauderdale, City of (FL)                Hamilton, Township of (NJ)
 Fort Wayne, City of (IN), Water Utilities    Hardin, County of (KY), Water District #2
 Fort Worth, City of (TX), Water Department   Harker Heights, City of (TX)
 FortisBC Electricity                         Harpeth Valley Utilities District
 FortisBC Natural Gas                         Harrisonburg Electric Commission
 Foxborough, Town of (MA)                     Harrisonburg, City of (VA)
 Frankfort, Village of (NY)                   Hattiesburg, City of (MS)
 Franklin, City of (IN), Board of Public      Hawaiian Electric Co.
     Works                                    Helena, City of (MT)
 Frederick, County of (MD)                    Hempstead, Town of (NY), Department of
 Fredericksburg, City of                          Water
 Fredericton, City of (New Brunswick)         Henrico, County of (VA), Utility
 Fresno, City of (CA)                         Hernando, County of (FL), Utilities
 Frisco, City of (TX)                             Department
 Fruitland Mutual Water Co.                   Hialeah, City of (FL)
 Fruitport, Charter Township of (MI)          Hickory, City of (NC)
 Gainesville Regional Utilities               Hill Management Services Inc.
 Gainesville, City of                         Hillsborough, County of (FL), Board of
 Gas Co., The                                     County Commissioners
 Gastonia, City of (NC)                       Hingham Municipal Lighting Plant
 Geneva, City of                              Hixson Utility District
 Georgia Natural Gas Co.                      Holland Board of Public Works
 Georgia Power Co.                            Holland Charter, Township of (MI)
 Gilbert, Town of (AZ)                        Honolulu, City & County of (HI)
 Glendale, City of (CA)                       Hope Gas
 Glendora, City of (CA)                       Hot Springs, City of (AK), Municipal
 Glenwood Springs, City of (CO)                   Utilities
 Golden State Water Co.                       Houston, City of (TX)
 Gordons Corner Water Co.                     Howard, County of
 Government Services Union                    HRSD
 Grand Chute Utilities                        Huber Heights, City of (OH)
 Grand Island, City of (NE), Utilities        Humble, City of (TX)
 Grand Traverse, County of (MI), Dept. of     Hummels Wharf Municipal Authority
     Public Works                             Huntsville, City of (AL), Utilities
 Greater Peoria Sanitary District             Hurst, City of (TX), Utility Billing
 Green Mountain Power Corp.                   Hyannis Water System
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 Hydro One Networks Inc.                      La Plata Electric Association Inc.
 Hydro Ottawa                                 Lady Lake, Town of (FL)
 Idaho Power                                  Lafayette, City of
 Illuminating Co., The                        Lake Apopka Natural Gas District
 Imperial Irrigation District                 Lake Charles, City of (LA)
 Independence, City of (MO)                   Lake Worth, City of
 Indian River, County of (FL), Utilities      Lake, County of (OH), Department of
 Indiana American Water Co Inc.                  Utilities
 Indianapolis Water Co.                       Lake, County of (OH), Department Public
 Intermountain Gas Co.                           Works
 Iowa American Water                          Lakeland, City of (FL)
 Irving Energy                                Lakewood, City of
 Issaquah, City of (WA)                       Lakewood, City of (FL), Water District
 Ithaca, City of (NY)                         Lansing Board of Water & Light
 IVT Parke Cedar Park LLC                     Las Cruces, City of (NM)
 Jackson County Water & Sewerage              Lawton, City of (OK), Utility Services
     Authority                                LCEC
 Jackson EMC                                  Lee, County of (FL), Utilities
 Jackson Energy Authority                     Lenoir City Utilities Board
 Jackson, City of                             Leominster, City of (MA)
 Jacksonville, City of (FL)                   Lethbridge, City of (Alberta)
 JCP&L                                        Lewisville, City of (TX)
 JEA                                          Lexington Fayette Urban County
 Jersey Central Power & Light                    Government
 JLP Cranberry Equity LLC                     LG&E & KU Energy LLC
 Johnson City Utility System                  Liberty Utilites
 Johnson, County of (KS), Wastewater          Liberty Utilities
 Johnson, County of (KS), Water District 1    Liberty Utilities Co.
 Joliet, City of (IL)                         Liberty Utilities Georgia
 Joplin, City of (MO)                         Liberty Utilities New Hampshire
 Jordan Tax Service Inc.                      Liberty Utilities New York
 Jupiter Town of (FL)                         Lincoln Electric System
 Kalispell, City of (MT)                      Livingston, Town of (NJ)
 Kamloops, City of (British Columbia)         Logan, Township of
 Kansas Gas Service                           London Hydro
 KCP&L                                        Longmont, City of (CO)
 Keizer, City of (OR)                         Longview, City of (WA)
 Kennewick, City of (WA)                      Los Angeles, City of (CA), Department of
 Kentucky American Water                         Water & Power
 Kissimmee Utility Authority                  Los Angeles, County of (CA)
 Kitchener Wilmot Hydro Inc.                  Loudoun Water
 Kitchener, Corporation of the City of        Louisville Gas & Electric
     (Ontario)                                Louisville Water Co.
 Kitsap, County of (WA), Public Works         Loveland, City of (CO)
 Knoxville Utilities Board                    Lubbock, City of (TX)
 La Habra, City of (CA)                       Luma Energy
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 LUS                                        Modesto Irrigation District
 Lynchburg, City of (VA), Utility Billing   Monarch Utilities
 Lynnwood, City of (WA)                     Monongahela Power
 Madison Gas & Electric                     Monroe County Water Authority
 Madison Suburban Utility District          Monroe, City of
 Maine Natural Gas                          Monroeville Municipal Authority
 Manatee County Utilities Department        Monrovia, City of (CA)
 Manchester, Town of                        Montana Dakota Utilities Co.
 Mandeville, City of (LA)                   Montgomery Water Wrks & Sewer
 Manhattan, City of (KS)                    Moore, City of (OK)
 Manitoba Hydro                             Morehead City, Town of (NC)
 Mansfield, City of (TX)                    Morgantown Utility Board
 Maple Grove, City of (MN)                  Moscow, City of (ID)
 Marietta Power Water                       Moulton Niguel Water
 Marin Municipal Water District             Mount Laurel MUA
 Marina Coast Water District                Mount Pleasant Waterworks
 Maritime Electric                          MTMSA
 Martin County Utilities                    Municipality of Bethel Park
 Maryland American Water                    Myrtle Beach, City of (FL)
 McKinney, City of (TX)                     Naperville, City of (IL)
 Medicine Hat, City of (Alberta)            Nashua Waste Water System
 Memphis Light Gas & Water Division         Nashville Electric Service
 Mequon, City of (WI)                       National Exemption Service
 Merchantville Pennsauken Water             National Fuel Gas Co.
 Meridian, City of                          National Grid
 Mesa, City of (AZ)                         NB Power
 Mesquite, City of (TX)                     New Jersey American Water
 Metro Water Services                       New London, City of
 Metropolitan Domestic Water Improvement    New Mexico Gas Co.
    District (AZ)                           New York City, City of (NY), Water Board
 Metropolitan St. Louis Sewer District      New York State Electric & Gas Corp.
 Metropolitan Utilities District            Newburgh, Town of (NY)
 Miami Dade Water Sewer Department          Newmarket Tay Power Distribution Ltd.
 Mid Carolina Electric Cooperative          Newport News Waterworks
 Midamerican Energy Co.                     Newport, City of
 Midamerican Energy Services                Newtown Artesian Water Co.
 Middle Tennessee Electric                  Nicor Gas
 Middlesex Water Co.                        Nipsco
 Midland, City of (MI), Water Department    NJ Natural Gas Co.
 Milford Sewer Department                   Noblesville, City of (IN), Utilities
 Milford Water Department                   Normal, Town of (IL)
 Mineola, Village of (NY)                   Norman, City of (OK)
 Minnesota Energy Resources                 North Attleborough Electric Department
 Mishawaka Utilities                        North Attleborough, Town of (MA)
 Missoula, City of (MT)                     North Brunswick, Township of (NJ)
 Missouri American Water                    North Little Rock Electric
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 North Shore Gas                             Paramount Newco Realty LLC
 North Springs Improvement District          Paramus, Borough of (NJ)
 North Wales Water Authority                 Pasadena Water & Power
 Northeast Ohio Region Sewer District        Pasadena, City of (CA), Water Department
 Northglenn, City of (CO)                    Passaic Valley Water Commission
 Northville Township Water Department        Pearl River Valley EPA
 Northwestern Energy                         Peco Energy
 Northwestern Water & Sewer District         Peco Payment Processing
 Nova Scotia Power Inc.                      Pedernales Electric Cooperative Inc.
 Novec                                       Peel, Regional Municipality of (Ontario)
 Novi, City of (MI)                          Pembroke Pines, City of (FL)
 NV Energy                                   Penn Power
 NW Natural                                  Pennichuck Water
 Oakville Hydro                              Pennsylvania American Water
 Ocala, City of (FL)                         Pennsylvania Electric Co.
 Oceanside, City of (CA)                     Peoples
 Oconee County Water Resources               Peoples Gas
 O’Fallon, City of (MO)                      Peoria, City of (IL)
 OGE                                         Pepco
 Ohio Edison                                 Perrysburg, City of (OH)
 Okaloosa Gas District                       Petoskey, City of (MI)
 Oklahoma Electric Cooperative Inc.          PG&E
 Oklahoma Natural Gas                        PGE
 Oklahoma, City of (OK)                      Pharr, City of (TX)
 Olivenhain Municipal Water District         Phoenix, City of (AZ)
 Olympia, City of (WA)                       Piedmont Natural Gas
 Omaha Public Power District                 Pierce, County of (WA), Sewer
 Opelika Power Services                      Pinellas, County of (FL), Utilities
 Opelika Utilities                           Pittsfield, City of (MA)
 Orange & Rockland                           Plano, City of (TX)
 Orange County Water Resource                Plattsburgh, Town of (NY), Water & Sewer
     Commission                              Plymouth, Town of (MA)
 Orange, City of (FL), Utilities             PNM Resources Inc.
 Orem, City of (UT)                          Port Arthur, City of (TX)
 Orlando Utilities Commission                Portage, City of (IN)
 Osage Beach, City of (MO)                   Portland General Electric Co.
 Ottawa, City of (Ontario)                   Portsmouth, City of (VA)
 Pacific Gas & Electric Co.                  Potomac Edison Co., The
 Pacific Power                               PowerStream Energy Services
 Padre Dam Municipal Water District          PP&L Inc.
 Paducah Power System                        PPL Electric Utilities Corp.
 Paducah Water                               PPL Utilities
 Palm Beach, County of (FL), Water Utility   Prince William County Service Authority
     Department                                  Inc.
 Palmetto Electric Cooperative               Promenade Delaware LLC
 Palmetto Utilities Inc.                     PSE&G Co.
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 PSEG Long Island LLC                        Saginaw Charter Township Water
 PSNC Energy                                     Department
 Public Service Co. of North Carolina        Salem, Town of (NH)
 Public Service Co. Of Oklahoma              Salt Lake City, City of (UT), Public Utilities
 Public Utility District 1 Skagit Co.        San Antonio Water System
 Pueblo Board of Waterworks                  San Diego Gas & Electric Co.
 Puget Sound Energy Inc.                     San Dieguito Water District
 Puyallup, City of (WA)                      San Luis Obispo, City of (CA)
 Queen Creek, Town of (AZ)                   San Marcos, City of (TX)
 Quincy, City of (IL)                        Sandpiper Energy Inc.
 Raleigh, City of (NC)                       Sandy, City of (UT)
 Ramsey Board of Public Works                Santa Clara, City of (CA)
 Rancho California Water District (CA)       Santa Cruz, City of (CA), Municipal
 Rapid City, City of (SD), Utility Billing       Utilities
    Office                                   Santa Fe, City of (NM)
 Raynham Center Water District               Santa Margarita Water District
 Realpage Utility Management Inc.            Santa Rosa, City of (CA)
 Red Deer, City of (Alberta)                 Santee Cooper
 Redding, City of (CA)                       Sarasota, County of (FL), Public Utilities
 Redlands, City of (CA)                      Saskatoon, City of (Saskatchewan)
 Redwood City, City of (CA)                  SaskEnergy
 Regina, City of (Saskatchewan)              SaskPower
 Rehoboth Beach, City of (DE)                Savannah, City of (GA)
 Reno, City of (NV), Utilities Department    Sawnee Electric Membership Foundation
 Rhode Island Energy                             Inc.
 Rib Mountain Sanitary District              SCE&G
 Richmond, City of (VA)                      Schaumburg, Village of (IL)
 Riverside Public Utilities                  Schererville, Town of (IN)
 Riviera Utilities                           Seacoast Utility Authority
 Roanoke Gas Co.                             Seal Beach, City of (CA)
 Rochester Gas & Electric Corp.              Seattle, City of (WA)
 Rochester Hills, City of (MI), Water &      Sebring, City of (FL)
    Sewer                                    SECO Energy Corp.
 Rochester Public Utilities                  Selma, City of (CA)
 Rockaway Township Municipal Utility         SEMCO ENERGY Gas Co.
 Rockland Electric Co.                       Shenandoah Valley Electric Cooperative
 Rockwall, City of (TX)                          Inc.
 Rocky Mountain Power Inc.                   Sherman, City of (TX)
 Rosemont Commons Delaware LLC               Shreveport, City of (LA)
 Roseville, City of (CA)                     Silverdale Water District
 Roseville, City of (CA), Water Department   Sioux City (IA)
 Round Rock, City of (TX)                    Sioux Falls Utilities
 Rutland, City of (VT)                       Skokie, Village of (IL)
 Sacramento Municipal Utilities District     Snohomish County Public Utility District
 Sacramento Municipal Utility District       Socalgas
 Sacramento, County of (CA), Utilities       Somerville, City of (MA)
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 South Carolina Electric & Gas               Tampa Electric Co.
 South Jersey Gas Co.                        Taunton Municipal Lighting Plant
 Southaven, City of (MS)                     Taylor, City of (MI), Water Department
 Southeast Gas                               TECO Energy Inc.
 Southern California Edison Co.              Teco Peoples Gas
 Southern California Gas Co.                 Temple, City of (TX)
 Southern Connecticut Gas Co., The           TEMUA
 Southern Maryland Electric Cooperative      Tennessee American Water Co.
     Inc.                                    Terrebonne Parish Consolidated
 Southington, Town of (CT)                       Government
 Southington, Town of (CT), Water            Texarkana Water Utilities
     Department, Board of Water              Texas Gas Service Co. Inc.
     Commissioners                           Think Utility Services Inc.
 Southlake, City of (TX), Water Utilities    Thornton, City of (CO)
 Southwest Gas Holdings Inc.                 Thoroughbred Village
 Southwestern Electric Power Co.             Tigard, City of (OR)
 Sparks, City of (NV)                        Toho Water Authority
 Spartanburg Water System                    Toledo Edison Co., The
 Spire Inc.                                  Toledo, City of (OH), Department of Public
 Spotsylvania, County of (VA), Treasurer         Utilities
 Spring, Town of (PA)                        Tombigbee Electric Power Association
 Springfield, City of (MO), Utilities        TOMSA
 SRLLC SG Fort Collins LLC                   Topeka, City Of (KS)
 SRP                                         Toronto Hydro Electric System Ltd.
 St. Johns, County of (FL), Utility          Torranc, City of (CA), Utilities
     Department                              Totowa, Borough of (NJ)
 St. Mary’s County Metropolitan              Tri-county Electric Cooperative Inc.
     Commission                              Troy, City of (MI), Water
 St. Petersburg, City of (FL)                Truckee Meadows Water Authority
 Standard Waste Services                     Tucson Electric Power Co.
 Stark, County of (OH), Metropolitan Sewer   Tucson, City of (AZ), Utility Lockbox
     District                                Tukwila, City of (WA)
 Sterling Heights, City of (MI), Water       Tulsa, City of (OK), Utilities
 Strathcona, County of (Alberta)             Tupelo, City of (MS), Water & Light
 Suffolk County Water Authority Inc.         Tuscaloosa, City of (AL), Water Sewer
 Summit Natural Gas of Missouri Inc.         Twin Falls, City of (ID)
 Summit Township Sewer Authority             TXU Electric Co. Inc.
 Summit Township Water Authority             Tyler, City of (TX)
 Summit Utilities Arkansas Inc.              UGI Central Penn Gas Inc.
 Summit Utilities Oklahoma Inc.              UGI South
 Sunrise, City of (FL)                       UGI Utilities Inc.
 Superior Propane                            United Illuminating Co., The
 Surprise, City of (AZ)                      United Power Inc.
 Tacoma, City of (WA)                        United Water Delaware Inc.
 Tacoma, City of (WA), City Treasurer        Unitil Corp.
 Tallahassee, City of (FL)                   UNS Gas Inc.
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 Upland, City Of (CA)                             Williston, Town of (VT)
 Urstadt Biddle Properties Inc.                   Willowbrook, Village of (IL)
 Utilities Kingston                               Wilmette, Village of (IL)
 Valdosta, City of (CA)                           Wilson, City of (NC)
 Vallejo, City of (CA)                            Wilton, Town of (NY)
 Valparaiso City Utilities                        Winnipeg, City of (Manitoba)
 Vancouver, City of (WA), Utilities               Winston-Salem, City of (NC)
 Veolia Water Delaware                            Winter Garden, City of (FL)
 Veolia Water Idaho                               Wisconsin Public Service Corp.
 Veolia Water New Jersey                          Withlacoochee River Electric Cooperative
 Veolia Water New York                               Inc.
 Veolia Water Pennsylvania                        Woodbury, City of (MN)
 Versant Power                                    Woodlands Water Mud# Metro
 VGS                                              Wright Hennepin Cooperative Electric
 Victor, Town of (NY), Sewer District                Association
 Victoria, City of (TX), Utility Billing Office   WSSC Water
 Virginia Natural Gas Inc.                        Xcel Energy Inc.
 Visalia, City of (CA)                            Yorba Linda Water District
 Waco, City of (TC), Water Office
 Walker, City of (MI)
 Walla Walla, City of (WA)
 Walton Electric Membership Corp., The
 Ward 2 Water District
 Warner Robins, City of (GA), City Hall
 Washington Gas Light Co.
 Washington, City of (UT)
 Water Tower Square Associates
 Wayne, Township of
 We Energies
 Weatherford, City Of (Tx)
 Webster, City of (TX)
 Weir River Water System
 West Des Moines Water Works
 West Harris, County of (TX), Mud 5
 West Melbourne, City of (FL), City Hall
 West Penn Power Co.
 Western Allegheny, County of (PA),
     Municipal Authority
 Western Virginia Water Authority
 Westland, City of (MI), Water Billing
 Westminster, City of (CA)
 White Lake, Township of (MI), Water
     Department
 Wichita Falls, City of (TX)
 Wichita, City of (KS)
 Wildwood, City of (FL), Water Utility
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                                                       SCHEDULE 2

                                                      Disclosure List

                                                  Name of Entity and/or
    Name of Entity Searched                     Affiliate of Entity that is a           Status of Representation
                                                    Cole Schotz Client
  Blackstone Liquid Credit                    Link Logistics                            Affiliate of Current Client
  Strategies, LLC
  Invesco Capital Management, Invesco CMI Investments                                   Former Client
  LLC
  Invesco Advisers, Inc.      Invesco CMI Investments                                   Former Client
  Marathon Asset                              Marathon CRE 2018-FL1                     Current Client*
  Management, LTD
  California Public Employees                 The People of the State of                Former Client
  Retirement System                           California
  California/ the People of the               The People of the State of                Former Client
  State of California                         California
  Paramount Newco Realty                      FM Red Owner                              Affiliate of Current Client
  LLC
  Paramount Newco Realty                      FM Red Owner                              Affiliate of Current Client
  LLC Upland
  Paramount Plaza at Brick                    Paramount Plaza at New Brite   Affiliate of Current Client
  LLC                                         LLC
                                              Paramount Plaza at Mifflin LLC
                                              Paramount Plaza at Lincoln LLC
  City of Denton                              City of Denton                 Former Client
  Anderson, Carol                             Carol Anderson, Trustee for               Current Client
                                              Ferris & Lenor Saydah Trust
  RPT Realty L.P.                             RPT Realty                                Current Client
  Ramsey Interstate Center                    Ramsey Interstate Center                  Current Client**
  LLC
  Ramsey Interstate Center                    Gabrellian Associates                     Current Client
  LLC



             *
                 Cole Schotz has an advance waiver permitting it to appear adverse to those clients marked with one
 asterisk.

             **
            Cole Schotz has previously represented those Clients marked with two asterisks adverse to one or more
 of the Debtors in matters wholly unrelated to these chapter 11 cases.



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                                       Name of Entity and/or
    Name of Entity Searched          Affiliate of Entity that is a   Status of Representation
                                         Cole Schotz Client
  Urstadt Biddle Properties Inc.   Urstadt Biddle Properties         Affiliate of Former Client

  Urstadt Biddle Properties        UB Bloomfield I                   Affiliate of Former Client

  First Real Estate Investment     First Real Estate Investment      Former Client
  Trust of NJ                      Trust of New Jersey

  First Real Estate Investment     Hekemian & Company                Current Client
  Trust of NJ
  Oak Street Investment Grade      Oak Street Real Estate            Former Client
  Net Lease Fund Series 2021-
  1, LLC
  UE 675 Paterson Avenue           Urban Edge Properties             Former Client
  LLC

  UE 675 Route 1 LLC               Urban Edge Properties             Former Client


  Totowa UE LLC                    Urban Edge Properties             Former Client


  Morris Plains Holding UE         Urban Edge Properties             Former Client
  LLC

  Manalapan UE, LLC                Urban Edge Properties             Affiliate of Former Client
  Seritage SRC Finance LLC         Seritage SRC Finance              Current Client
  UTC, LP                          Seritage SRC Finance              Affiliate of Current Client
  Valley and Plainfield            Valley & Plainfield               Current Client
  Associates, L.P.                 Edward Croman

  Sanzari 89 Associates LP         Alfred Sanzari                    Current Client

  Middletown Shopping Center       Vornado Realty Trust              Affiliate of Former Client
  I, LP
  UE 675 Paterson Avenue           Vornado Realty Trust              Affiliate of Former Client
  LLC
  Levin Management                 Levin Management                  Current Client
  Corporation

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                                     Name of Entity and/or
    Name of Entity Searched        Affiliate of Entity that is a   Status of Representation
                                       Cole Schotz Client
  Levin Management               Post Road Plaza Fee, LLC          Affiliate of Former Client
  Corporation
  RREEF America REIT II          RREEF Management                  Affiliate of Former Client
  Corp. MM
  Seaview Acquisition LLC        Seaview Acquisitions              Current Client
  Donahue Schriber Realty        Donahue Schriber Realty           Current Client
  Group, L.P.
  DS Properties 18 LP            Donahue Schriber Realty           Current Client
  GLP Flint LLC                  GLP US Management II              Current Client
  Flagler S.C., LLC              Flagler Systems Management        Current Client
  Valley Square I, L.P.          Allied Properties                 Affiliate of Current Client

  DeRito/Kimco Riverview,        Derito/Kimco Riverview: Kimco     Current Client
  LLC                            Realty
  GM Realty of Bangor, LLC       GM Realty of Bangor, LLC          Current Client
  SEP Augusta, LLC               SEP Augusta, LLC                  Current Client
  Equity One (Florida            Equity One                        Former Client
  Portfolio) LLC
  Equity One (Northeast          Equity One                        Former Client
  Portfolio) LLC
  Equity One (Southeast          Equity One                        Former Client
  Portfolio) LLC
  LTC Retail, LLC                LTC Retail Owner, LLC             Former Client
  Riskified Inc                  Riskified Inc.                    Current Client
  Riskified Inc                  Riskified Ltd.                    Affiliate of Current Client
  Lifetime Brands Inc.           Lifetime Brands Inc.              Current Client
  Merkle Inc                     Merkle, Inc.                      Former Client
  Keurig Green Mountain, Inc.    Keurig Dr. Pepper, Inc.           Current Client
  Sama Plastics Corporation      Sama Plastics                     Former Client
  Verizon Business Network       Verizon Pennsylvania, Inc.        Current Client*

  Verizon Wireless               Verizon Pennsylvania, Inc.        Current Client*

  Vornado Air LLC                Vornado Realty Trust              Current Client
  Ares Management                Dividend Capital Diversified      Affiliate of Current Client
                                 Property Fund, Inc.
  Silver Point Capital           Silver Point Capital              Current Client *


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                                     Name of Entity and/or
    Name of Entity Searched       Affiliate of Entity that is a   Status of Representation
                                       Cole Schotz Client
  Judith Cohen                  Judith Cohen                      Current Client
  Christiana Town Center, LLC Christiana Town Center              Current Client
  Judge Rosemary              Judge Rosemary Gambardella          Former Client
  Gambardella




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                                        Exhibit B

                                     Etlin Declaration




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 fyudkin@coleschotz.com

 Proposed Co-Counsel for Debtors and
 Debtors in Possession

                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 BED BATH & BEYOND INC., et al.,                               Case No. 23-13359 (VFP)

                                     Debtors.1                 (Jointly Administered)



          DECLARATION OF HOLLY ETLIN IN SUPPORT OF DEBTORS’
          APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
     EMPLOYMENT AND RETENTION OF COLE SCHOTZ P.C. AS BANKRUPTCY
     CO-COUNSEL TO THE DEBTORS NUNC PRO TUNC TO THE PETITION DATE




            1
              The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete
 list of the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
 website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
 Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11
 cases is 650 Liberty Avenue, Union, New Jersey 07083.



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          I, Holly Etlin, pursuant to 28 U.S.C. § 1746, to the best of my knowledge and belief, and

 after reasonable inquiry, declare:

          1.         My name is Holly Etlin. I am over the age of 21. I am the Chief Restructuring

 Officer and Chief Financial Officer of Bed Bath and Beyond Inc. (together with its affiliated

 debtors and debtors in possession, collectively, the “Debtors”). in the above-captioned Chapter

 11 Cases. Accordingly, I am generally familiar with the business operations, business and financial

 affairs, and books and records of the Debtors and am in all respects competent to make this

 Declaration (the “Declaration”).

          2.         Except as otherwise indicated herein, the facts set forth in this Declaration are based

 upon my personal knowledge, my review of relevant documents, information provided to me by

 Cole Schotz and/or employees working under my supervision, or my opinion based upon my

 experience, knowledge, and information concerning the Debtors’ operations. I am authorized to

 submit this Declaration on the Debtors’ behalf.                   If called upon to testify, I would testify

 competently to the facts set forth in this Declaration.

          3.         This Declaration is submitted in support of the Debtors’ Application for Entry of

 an Order Authorizing the Employment and Retention of Cole Schotz P.C. as Bankruptcy Co-

 Counsel to the Debtors Nunc Pro Tunc to the Petition Date (the “Application”),2 filed concurrently

 herewith.

          4.         This Declaration also is submitted provided pursuant to Section D.2 of the Appendix

 B Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

 Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective as of November 1,

 2013 (the “U.S. Trustee Guidelines”), promulgated by the Office of the United States Trustee (the



          2
              Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.

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 “U.S. Trustee”). I am informed by Cole Schotz that the U.S. Trustee Guidelines require that any

 application for employment of an attorney under section 327 or 1103 of the Bankruptcy Code be

 accompanied by a verified statement from the client that addresses the following:

                   (a)    The identity and position of the person making the verification. The person
                          ordinarily should be the general counsel of the debtor or another officer
                          responsible for supervising outside counsel and monitoring and controlling
                          legal costs.

                   (b)    The steps taken by the client to ensure that the applicant’s billing rates and
                          material terms for the engagement are comparable to the applicant’s billing
                          rates and terms for other non-bankruptcy engagements and to the billing
                          rates and terms of other comparably skilled professionals.

                   (c)    The number of firms the client interviewed.

                   (d)    If the billing rates are not comparable to the applicant’s billing rates for
                          other non-bankruptcy engagements and to the billing rates of other
                          comparably skilled professionals, the circumstances warranting the
                          retention of that firm.

                   (e)    The procedures the client has established to supervise the applicant’s fees
                          and expenses and to manage costs. If the procedure for the budgeting,
                          review and approval of fees and expenses differ from those the client
                          regularly employs in nonbankruptcy cases to supervise outside general
                          counsel, explain how and why. In addition, describe any efforts to negotiate
                          rates including rates for routing matters, or in the alternative to delegate
                          such matters to less expensive counsel.

          5.       In my capacity as Chief Restructuring Officer and Chief Financial Officer of Bed

 Bath and Beyond Inc., I am part of the Debtors’ team responsible for supervising the Debtors’

 outside counsel and monitoring and controlling legal costs.

          6.       Cole Schotz has historically rendered general corporate and real estate services to

 the Debtors. Prior to the Petition Date, K&E informed the Debtors that they were obligated to

 retain New Jersey counsel to represent them in these Chapter 11 Cases. In that regard, K&E

 strongly recommended that the Debtors retain Cole Schotz. In recommending Cole Schotz, K&E

 expressed that Cole Schotz was the premier law firm in New Jersey with a preeminent bankruptcy



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 practice, significant experience appearing before this Court, an in-depth knowledge of the local

 practice and procedure, and a competitive rate structure. The Debtors relied on K&E’s

 recommendation, their prior relationship with Cole Schotz and elected to retain Cole Schotz on

 that basis.

          7.       Since its retention, Cole Schotz has provided advice and assisted the Debtors in

 certain aspects of their restructuring efforts based on its experience with cases of large and complex

 companies like the Debtors. In addition, Cole Schotz has provided advise on the local rules,

 procedures, and practices in this District. I believe that for these reasons Cole Schotz is well-

 qualified to serve as the Debtors’ bankruptcy co-counsel in these Chapter 11 Cases. Moreover, in

 the event Cole Schotz has a disabling conflict of interest in these Chapter 11 Cases, that matter will

 be handled by K&E.

          8.       I have confirmed with Cole Schotz that, although its billing rates vary from attorney

 to attorney based on such facts as the attorney’s seniority and position with the firm (e.g., member,

 counsel, or associate), years of experience, and the demand for services in the attorney’s particular

 area of expertise, its billing rates do not vary as a function of whether the services performed relate

 to a bankruptcy engagement or a non-bankruptcy engagement.

          9.       The Debtors have been informed that Cole Schotz endeavors to set the hourly rates

 for its attorneys and paraprofessionals at levels competitive to those charged by firms with whom

 they compete. In addition, the Debtors confirmed that (i) the Cole Schotz attorneys staffed to this

 engagement will not be charging a premium or in any way increasing their hourly rates over the

 fees charged to non-bankruptcy clients, and (ii) the material terms for the engagement are

 comparable to terms of other comparably skilled professionals.




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          10.      The Debtors supervise outside counsel retained in the ordinary course of business

 and will supervise the fees and expenses incurred by Cole Schotz in connection with these Chapter

 11 Cases. More specifically, in my capacity as Chief Restructuring Officer and Chief Financial

 Officer of Bed Bath and Beyond Inc., my responsibilities extend to the supervision of counsel

 through the monitoring of costs, including legal costs. During the course of these Chapter 11

 Cases, I, or others working under my direction and guidance, will review Cole Schotz’s invoices,

 monthly fee statements, and interim and final compensation applications in connection with Cole

 Schotz’s requests for payment of fees and reimbursement of expenses. Cole Schotz has assured

 me that, in order to avoid any duplication of effort and provide services to the Debtors in the most

 efficient and cost-effective manner, Cole Schotz will continue to coordinate with K&E and any

 other firms the Debtors retain regarding their respective responsibilities in these Chapter 11 Cases.

          11.      I understand that Cole Schotz historically increases its hourly billing rates for their

 professionals and paraprofessionals on September 1 of each year. The Debtors have consented to

 such ordinary course rate increases.

          12.      Cole Schotz has indicated that it will provide the Debtors with prospective budgets

 and staffing plans in accordance with the U.S. Trustee Guidelines. The Debtors recognize,

 however that in the course of these Chapter 11 Cases, there may be unforeseeable fees and

 expenses that will need to be addressed by the Debtors and Cole Schotz. The Debtors recognize

 that it is their responsibility to closely monitor Cole Schotz’s billing practices and to ensure that

 the fees and expenses paid by the estates remain consistent with the Debtors’ expectations and the

 exigencies of these Chapter 11 Cases. The Debtors will work with Cole Schotz to amend the

 budget and staffing plan as necessary during the pendency of these Chapter 11 Cases.




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          13.      To the extent the Debtors have an objection to the fees and expenses requested by

 Cole Schotz in any monthly fee statement or interim or final compensation applications that cannot

 be informally resolved to the Debtors’ satisfaction, Cole Schotz has informed me that it will file a

 Notice of Objection to Fee Statement on the Debtors’ behalf. I understand that Cole Schotz reserves

 all rights to contest any such objection raised to the allowance or payment of its requested fees and

 expenses, and the Debtors reserve all rights to retain conflicts counsel to prosecute any such fee

 objection to the extent it cannot be resolved informally by the parties.

          14.      Nothing contained herein is intended to limit Cole Schotz’s ability to request

 allowance and payment of fees and expenses pursuant to sections 330 and 331 of the Bankruptcy

 Code, nor to restrict Cole Schotz’s rights to defend any objection raised to the allowance or

 payment of such fees, nor to restrict the Debtors’ right to retain conflicts counsel to prosecute any

 such fee objection to the extent it is not resolved informally by the parties or raised by another

 party-in-interest, such as the U.S. Trustee.

          15.      Based on the foregoing, I am of the opinion that it is necessary for the Debtors to

 employ Cole Schotz as their counsel in these cases and that such employment is in the best interest

 of the Debtors’ estates.

                              [Remainder of page left intentionally blank.]




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          I hereby declare under the penalty of perjury that the foregoing is true and correct.


  Dated: May 20, 2023                                   Respectfully submitted,

                                                        BED BATH AND BEYOND INC.

                                                        By: /s/ Holly Etlin
                                                                Holly Etlin
                                                                Chief Restructuring Officer and
                                                                Chief Financial Officer
                                                                Bed Bath and Beyond Inc.




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                                   PROPOSED ORDER




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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)

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 Proposed Co-Counsel for Debtors and Debtors in Possession

 In re:                                                             Chapter 11
 BED BATH & BEYOND INC., et al.,
                                                                    Case No. 23-13359 (VFP)
          Debtors. 1
                                                                    (Jointly Administered)

                   ORDER APPROVING THE EMPLOYMENT AND RETENTION
                   OF COLE SCHOTZ P.C. AS BANKRUPTCY CO-COUNSEL TO
                    THE DEBTORS NUNC PRO TUNC TO THE PETITION DATE

    The relief set forth on the following pages, numbered two (2) through six (6), is hereby
ORDERED.




        1
          The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website of
the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed
Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 650 Liberty
Avenue, Union, New Jersey 07083.



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                        SCHOTZ P.C. AS CO-COUNSEL TO THE DEBTORS NUNC PRO TUNC
                        TO THE PETITION DATE


         Upon the application (the “Application”) 2 of the above captioned debtors and debtors in

possession (collectively, the “Debtors”), pursuant to sections 327(a), 329, and 330 of the Bankruptcy

Code, Bankruptcy Rule 2014, and Local Rule 2014-1, authorizing the Debtors to employ and retain

Cole Schotz P.C. (“Cole Schotz”) as their bankruptcy co-counsel in these proceedings nunc pro tunc

to the Petition Date; and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Standing Order of Reference of the Bankruptcy Court Under Title 11, entered July

23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and consideration of the Application

and the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and venue

being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Application

having been given as provided in the Application, and such notice having been adequate and

appropriate under the circumstances; and it appearing that no other or further notice of the Application

need be provided; and upon the Declarations of Michael D. Sirota, Esq. and Holly Etlin in support

thereof; and the Court being satisfied that Cole Schotz does not hold or represent any interest adverse

to the Debtors, their estates, or their creditors, and is a disinterested person within the meaning of

sections 327 and 101(14) of the Bankruptcy Code, and that the legal and factual bases set forth in the

Application establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor,




         2
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Application.


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                         TO THE PETITION DATE


         IT IS HEREBY ORDERED THAT:

         1.       The Application is GRANTED as set forth herein.

         2.       In accordance with sections 327(a), 329, and 330 of the Bankruptcy Code, the Debtors

are hereby authorized and empowered to employ and retain Cole Schotz as their bankruptcy co-counsel

in these Chapter 11 Cases effective as of the Petition Date.

         3.       Any and all compensation to be paid to Cole Schotz for services rendered on the

Debtors’ behalf, including compensation for services rendered in connection with the preparation of

the petition and accompanying papers, shall be fixed by application to this Court in accordance with

sections 330 and 331 of the Bankruptcy Code, such Federal Rules and Local Rules as may then be

applicable, and any orders entered in these cases governing the compensation and reimbursement of

professionals for services rendered and charges and disbursements incurred. Cole Schotz also shall

make a reasonable effort to comply with the U.S. Trustee Guidelines, both in connection with the

Application and the interim and final fee applications to be filed by Cole Schotz in the Chapter 11

Cases.

         4.       In order to avoid any duplication of effort and provide services to the Debtors in the

most efficient and cost-effective manner, Cole Schotz shall coordinate with Kirkland & Ellis LLP,

Kirkland & Ellis International LLP and any additional firms the Debtors retain regarding their

respective responsibilities in these Chapter 11 Cases. As such, Cole Schotz shall use its best efforts to




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                         TO THE PETITION DATE


avoid duplication of services provided by any of the Debtors’ other retained professionals in these

Chapter 11 Cases.

         5.       Prior to applying any increases in its hourly rates beyond the rates set forth in the

Application, Cole Schotz shall provide ten (10) days’ prior notice of any such increases to the Debtors,

the United States Trustee, and any official committee appointed in the Debtors’ Chapter 11 Cases and

shall file such notice with the Court. All parties in interest retain rights to object to any rate increase on

all grounds, including the reasonableness standard set forth in section 330 of the Bankruptcy Code, and

the Court retains the right to review any rate increase pursuant to section 330 of the Bankruptcy Code.

         6.       Cole Schotz (i) shall only bill 50% for non-working travel; (ii) shall not seek the

reimbursement of any fees or costs, including attorney fees and costs, arising from the defense of any

objections to any of Cole Schotz’s fee applications in this case; (iii) shall use the billing and expense

categories set forth in the US Trustee Guidelines (Exhibit D-1 “Summary of Compensation Requested

by Project Category”); and (iv) provide any and all monthly fee statements, interim fee applications,

and final fee applications in “LEDES” format to the United States Trustee.

         7.       Notwithstanding anything in the Application or the Sirota Declaration to the contrary,

Cole Schotz shall seek reimbursement from the Debtors’ estates for its engagement-related expenses

at the firm’s actual cost paid.

         8.       Notwithstanding anything in the Application and the Sirota Declaration to the contrary,

Cole Schotz shall (i) to the extent that Cole Schotz uses the services of independent contractors or




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subcontractors (collectively, the “Contractors”) in these cases, pass through the cost of such Contractors

at the same rate that Cole Schotz pays the Contractors; (ii) seek reimbursement for actual costs only;

(iii) ensure that the Contractors are subject to the same conflicts checks as required for Cole Schotz;

(iv) file with this Court such disclosures required by Bankruptcy Rule 2014; and (v) attach any such

Contractor invoices to its monthly fee statements, interim fee applications and/or final fee applications

filed in these cases. No agreement or understanding exists between Cole Schotz and any other person,

other than as permitted by Bankruptcy Code section 504, to share compensation received for services

rendered in connection with these cases, nor shall Cole Schotz share or agree to share compensation

received for services rendered in connection with these cases with any other person other than as

permitted by Bankruptcy Code section 504.

         9.       Notwithstanding Cole Schotz’s Standard Terms of Engagement for Legal Services, the

provision that “Our bills are due and payable upon receipt” shall be null and void during the pendency

of these bankruptcy cases.

         10.      Notwithstanding Cole Schotz’s Standard Terms of Engagement for Legal Services,

during the pendency of the Chapter 11 Cases, Cole Schotz’s retainer shall be treated like a security

retainer and shall not be drawn down absent Court order.

         11.      As set forth in Cole Schotz’s Standard Terms of Engagement for Legal Services, Cole

Schotz’s fees and expenses will be considered “earned” at the time they are incurred, notwithstanding

the fact that any such amounts shall only be payable as set forth in any order granting that certain




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Administrative Fee Order Establishing Procedures for the Allowance and Payment of Interim

Compensation and Reimbursement of Expenses of Professionals Retained by Order of this Court

[Docket No. 105] and shall only be allowed upon entry of a Court order allowing them.

         12.      Notwithstanding Cole Schotz’s Standard Terms of Engagement for Legal Services, the

provision concerning fee disputes is null and void during the pendency of these Chapter 11 Cases.

         13.      To the extent the Application, the Sirota Declaration, or any engagement agreement

pertaining to this retention is inconsistent with this Order, the terms of this Order shall govern.

         14.      The Debtors are authorized to take all action necessary to carry out this Order.

         15.      This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Order.




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